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 Fill in this information to identify your case:

 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :

 M ID D L E D IS T R IC T O F F L O R ID A

 Ca se num be r                                                                                                   C h a p te r y o u a re filin g u n d e r:
                        (if known)
                                                                                                                      C h a p te r 7

                                                                                                                      C h a p te r 1 1

                                                                                                                      C h a p te r 1 2

                                                                                                                      C h a p te r 1 3                                                         C h e c k if th is a n
                                                                                                                                                                                               a m e n d e d filin g




O ffic ia l F o rm 1 0 1
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                                                                12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.


Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.



 Part 1:         Identify Yourself


                                                        About Debtor 1:                                                                           About Debtor 2 (Spouse Only in a Joint Case):

 1.      Your full name

         W rite th e n a m e th a t is o n y o u r
                                                        Cathy
         g o v e rn m e n t- is s u e d p ic tu re      F irs t n a m e                                                                           F irs t n a m e
         id e n tif ic a tio n (f o r e x a m p le ,
         y o u r d riv e r's lic e n s e o r
         p a s s p o rt).                               Sue
                                                        M id d le n a m e                                                                         M id d le n a m e
         B rin g y o u r p ic tu re
         id e n tif ic a tio n to y o u r m e e tin g   Suttles
         w ith th e tru s te e .                        L a s t n a m e a n d S u f f ix (S r., J r., II, III)                                    L a s t n a m e a n d S u f f ix (S r., J r., II, III)




 2.      All other names you have
         used in the last 8 years                       Kathy Sue Suttles
         In c lu d e y o u r m a rrie d o r
         m a id e n n a m e s .




 3.      Only the last 4 digits of
         your Social Security
         number or federal                              xxx-xx-0648
         Individual Taxpayer
         Identification number (IT IN )



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                 Cathy Sue Suttles                                                                                    (if known)




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D e b to r 1                                                                                                                                              C ase num ber
                 Cathy Sue Suttles                                                                                                                                              (if known)




                                               About Debtor 1:                                                                                   About Debtor 2 (Spouse Only in a Joint Case):


4.      Any business names and
        Employer Identification
        Numbers (EIN) you have                      I h a v e n o t u s e d a n y b u s in e s s n a m e o r E IN s .                                 I h a v e n o t u s e d a n y b u s in e s s n a m e o r E IN s .
        used in the last 8 years

        In c lu d e tra d e n a m e s a n d    B u s in e s s n a m e (s )                                                                       B u s in e s s n a m e (s )
        doing business as n a m e s

                                               E IN s                                                                                            E IN s




5.      Where you live                                                                                                                           If Debtor 2 lives at a different address:

                                               2422 Otis Ave
                                               Deltona, FL 32738
                                               N u m b e r, S tre e t, C ity , S ta te & Z IP C o d e                                            N u m b e r, S tre e t, C ity , S ta te & Z IP C o d e

                                               Volusia
                                               C o u n ty                                                                                        C o u n ty


                                               If your mailing address is different from the one above,                                          If Debtor 2's mailing address is different from yours, fill it in
                                               fill it in here. N o te th a t th e c o u rt w ill s e n d a n y n o tic e s to y o u             here. N o te th a t th e c o u rt w ill s e n d a n y n o tic e s to th is m a ilin g
                                               a t th is m a ilin g a d d re s s .                                                               a d d re s s .



                                               N u m b e r, P .O . B o x , S tre e t, C ity , S ta te & Z IP C o d e                             N u m b e r, P .O . B o x , S tre e t, C ity , S ta te & Z IP C o d e




6.      Why you are choosing this              Check one:
                                                                                                                                                 Check one:
        district to file for
                                                            O v e r th e la s t 1 8 0 d a y s b e f o re f ilin g th is p e titio n , I
        bankruptcy                                          h a v e liv e d in th is d is tric t lo n g e r th a n in a n y o th e r                          O v e r th e la s t 1 8 0 d a y s b e f o re f ilin g th is p e titio n , I h a v e
                                                            d is tric t.                                                                                      liv e d in th is d is tric t lo n g e r th a n in a n y o th e r d is tric t.

                                                            I h a v e a n o th e r re a s o n .                                                               I h a v e a n o th e r re a s o n .
                                                            E x p la in . (S e e 2 8 U .S .C . § 1 4 0 8 .)                                                   E x p la in . (S e e 2 8 U .S .C . § 1 4 0 8 .)




                                                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                   3
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                 Cathy Sue Suttles                                                                                                                                         (if known)




Part 2:        Tell the Court About Your Bankruptcy Case

7.      The chapter of the              Check one. (F o r a b rie f d e s c rip tio n o f e a c h , s e e Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
        Bankruptcy Code you are         Bankruptcy (Form 2010)). A ls o , g o to th e to p o f p a g e 1 a n d c h e c k th e a p p ro p ria te b o x .
        choosing to file under              C h a p te r 7

                                            C h a p te r 1 1

                                            C h a p te r 1 2

                                            C h a p te r 1 3




8.      How you will pay the fee                 I will pay the entire fee when I file my petition. P le a s e c h e c k w ith th e c le rk ’ s o ffic e in y o u r lo c a l c o u rt fo r m o re d e ta ils
                                                 a b o u t h o w y o u m a y p a y . T y p ic a lly , if y o u a re p a y in g th e fe e y o u rs e lf, y o u m a y p a y w ith c a s h , c a s h ie r s c h e c k , o r m o n e y
                                                                                                                                                                                                       ’
                                                 o rd e r. If y o u r a tto rn e y is s u b m ittin g y o u r p a y m e n t o n y o u r b e h a lf, y o u r a tto rn e y m a y p a y w ith a c re d it c a rd o r c h e c k w ith
                                                 a p re - p rin te d a d d re s s .

                                                 I need to pay the fee in installments. If y o u c h o o s e th is o p tio n , s ig n a n d a tta c h th e Application for Individuals to Pay The
                                                                                     (O ffic ia l F o rm 1 0 3 A ).
                                                 Filing Fee in Installments
                                                 I request that my fee be waived (Y o u m a y re q u e s t th is o p tio n o n ly if y o u a re filin g fo r C h a p te r 7 . B y la w , a ju d g e m a y , b u t
                                                 is n o t re q u ire d to , w a iv e y o u r fe e , a n d m a y d o s o o n ly if y o u r in c o m e is le s s th a n 1 5 0 % o f th e o ffic ia l p o v e rty lin e th a t
                                                 a p p lie s to y o u r fa m ily s iz e a n d y o u a re u n a b le to p a y th e fe e in in s ta llm e n ts ). If y o u c h o o s e th is o p tio n , y o u m u s t fill o u t
                                                 th e                                                                         (O ffic ia l F o rm 1 0 3 B ) a n d file it w ith y o u r p e titio n .
                                                       Application to Have the Chapter 7 Filing Fee Waived



9.      Have you filed for                 No.
        bankruptcy within the last 8
                                           Y es.
        years?
                                                        D is tric t                                                       W hen                                              C ase num ber
                                                        D is tric t                                                       W hen                                              C ase num ber
                                                        D is tric t                                                       W hen                                              C ase num ber



10. Are any bankruptcy cases               No
        pending or being filed by a
                                           Y es.
        spouse who is not filing this
        case with you, or by a
        business partner, or by an
        affiliate?
                                                        D e b to r                                                                                                         R e la tio n s h ip to y o u
                                                        D is tric t                                                       W hen                                            C a s e n u m b e r, if k n o w n
                                                        D e b to r                                                                                                         R e la tio n s h ip to y o u
                                                        D is tric t                                                       W hen                                            C a s e n u m b e r, if k n o w n



11. Do you rent your                       No.            G o to lin e 1 2 .
        residence?                                        H a s y o u r la n d lo rd o b ta in e d a n e v ic tio n j u d g m e n t a g a in s t y o u ?
                                           Y es.
                                                                      N o . G o to lin e 1 2 .

                                                                      Y e s . F ill o u t Initial Statement About an Eviction Judgment Against You (F o rm 1 0 1 A ) a n d f ile it a s p a rt
                                                                      o f th is b a n k ru p tc y p e titio n .




                                                               Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                     4
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                  Cathy Sue Suttles                                                                                                                                                     (if known)




Part 3:         Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor of
        any full- or part-time                              No.            G o to P a rt 4 .
        business?
                                                            Y es.          N a m e a n d lo c a tio n o f b u s in e s s
        A s o le p ro p rie to rs h ip is a
        b u s in e s s y o u o p e ra te a s a n                           N a m e o f b u s in e s s , if a n y
        in d iv id u a l, a n d is n o t a
        s e p a ra te le g a l e n tity s u c h a s a
        c o rp o ra tio n , p a rtn e rs h ip , o r
        L L C.
        If y o u h a v e m o re th a n o n e                               N u m b e r, S tre e t, C ity , S ta te & Z IP C o d e
        s o le p ro p rie to rs h ip , u s e a
        s e p a ra te s h e e t a n d a tta c h it to
        th is p e titio n .
                                                                           Check the appropriate box to describe your business:
                                                                                 H e a lth C a re B u s in e s s (a s d e f in e d in 1 1 U .S .C . § 1 0 1 (2 7 A ))
                                                                                        S in g le A s s e t R e a l E s ta te (a s d e f in e d in 1 1 U .S .C . § 1 0 1 (5 1 B ))
                                                                                        S to c k b ro k e r (a s d e f in e d in 1 1 U .S .C . § 1 0 1 (5 3 A ))
                                                                                        C o m m o d ity B ro k e r (a s d e f in e d in 1 1 U .S .C . § 1 0 1 (6 ))
                                                                                        N o n e o f th e a b o v e


13. Are you filing under                                                                                                                                                                                                                             If
                                                        If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate deadlines.
        Chapter 11 of the                               y o u in d ic a te th a t y o u a re a s m a ll b u s in e s s d e b to r, y o u m u s t a tta c h y o u r m o s t re c e n t b a la n c e s h e e t, s ta te m e n t o f o p e ra tio n s ,
        Bankruptcy Code and are                         c a s h - flo w s ta te m e n t, a n d fe d e ra l in c o m e ta x re tu rn o r if a n y o f th e s e d o c u m e n ts d o n o t e x is t, fo llo w th e p ro c e d u re in 1 1 U . S . C .
                                                        1 1 1 6 (1 )(B ).
        you a small business
        debtor?
                                                                           I a m n o t filin g u n d e r C h a p te r 1 1 .
                                                            No.
        F o r a d e f in itio n o f small
        business debtor, s e e 1 1                          No.            I a m filin g u n d e r C h a p te r 1 1 , b u t I a m N O T a s m a ll b u s in e s s d e b to r a c c o rd in g to th e d e fin itio n in th e B a n k ru p tc y
        U .S .C . § 1 0 1 (5 1 D ).                                        Code .

                                                            Yes.           I a m filin g u n d e r C h a p te r 1 1 a n d I a m a s m a ll b u s in e s s d e b to r a c c o rd in g to th e d e fin itio n in th e B a n k ru p tc y C o d e .



Part 4:         Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                                  No.
        property that poses or is                           Yes.
        alleged to pose a threat of                                    W h a t is th e h a z a rd ?
        imminent and identifiable
        hazard to public health or
        safety? Or do you own any
        property that needs                                            If im m e d ia te a tte n tio n is
        immediate attention?                                           n e e d e d , w h y is it n e e d e d ?

        For example, do you
        own perishable goods,
        or livestock that must be                                      W h e re is th e p ro p e rty ?
        fed, or a building that
        needs urgent repairs?
                                                                                                                      N u m b e r, S tre e t, C ity , S ta te & Z ip C o d e




                                                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          5
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                   Cathy Sue Suttles                                                                                                                                             (if known)


Part 5:         Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                         About Debtor 1:                                                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether                               You must check one:                                                                           You must check one:
        you have received a                                  I received a briefing from an approved credit                                                  I received a briefing from an approved credit counseling
        briefing about credit                                counseling agency within the 180 days before I filed                                           agency within the 180 days before I filed this bankruptcy
        counseling.                                          this bankruptcy petition, and I received a certificate                                         petition, and I received a certificate of completion.
                                                             of completion.
        T h e la w re q u ire s th a t y o u                                                                                                                A tta c h a c o p y o f th e c e rtif ic a te a n d th e p a y m e n t p la n , if a n y ,
        re c e iv e a b rie f in g a b o u t c re d it       A tta c h a c o p y o f th e c e rtif ic a te a n d th e p a y m e n t p la n , if             th a t y o u d e v e lo p e d w ith th e a g e n c y .
        c o u n s e lin g b e f o re y o u f ile f o r       a n y , th a t y o u d e v e lo p e d w ith th e a g e n c y .
        b a n k ru p tc y . Y o u m u s t
        tru th f u l ly c h e c k o n e o f th e             I received a briefing from an approved credit                                                  I received a briefing from an approved credit counseling
        f o llo w in g c h o ic e s . If y o u
        c a n n o t d o s o , y o u a re n o t               counseling agency within the 180 days before I filed                                           agency within the 180 days before I filed this bankruptcy
        e lig ib le to f ile .                               this bankruptcy petition, but I do not have a                                                  petition, but I do not have a certificate of completion.
                                                             certificate of completion.
        If y o u f ile a n y w a y , th e c o u rt                                                                                                          W ith in 1 4 d a y s a f te r y o u f ile th is b a n k ru p tc y p e titio n , y o u
        c a n d is m is s y o u r c a s e , y o u                                                                                                           M U S T f ile a c o p y o f th e c e rtif ic a te a n d p a y m e n t p la n , if a n y .
                                                             W ith in 1 4 d a y s a f te r y o u f ile th is b a n k ru p tc y p e titio n ,
        w ill lo s e w h a te v e r f ilin g f e e
                                                             y o u M U S T f ile a c o p y o f th e c e rtif ic a te a n d p a y m e n t
        y o u p a id , a n d y o u r c re d ito rs
                                                             p la n , if a n y .
        c a n b e g i n c o lle c tio n a c tiv itie s
        a g a in .
                                                             I certify that I asked for credit counseling services                                          I certify that I asked for credit counseling services from an
                                                             from an approved agency, but was unable to obtain                                              approved agency, but was unable to obtain those services
                                                             those services during the 7 days after I made my                                               during the 7 days after I made my request, and exigent
                                                             request, and exigent circumstances merit a 30-day                                              circumstances merit a 30-day temporary waiver of the
                                                             temporary waiver of the requirement.                                                           requirement.

                                                             T o a s k f o r a 3 0 - d a y te m p o ra ry w a iv e r o f th e                               T o a s k f o r a 3 0 - d a y te m p o ra ry w a iv e r o f th e re q u ire m e n t, a tta c h
                                                             re q u ire m e n t, a tta c h a s e p a ra te s h e e t e x p la in in g w h a t               a s e p a ra te s h e e t e x p la in in g w h a t e f f o rts y o u m a d e to o b ta in th e
                                                             e f f o rts y o u m a d e to o b ta in th e b rie f in g , w h y y o u w e re                  b rie f in g , w h y y o u w e re u n a b le to o b ta in it b e f o re y o u f ile d f o r
                                                             u n a b le to o b ta in it b e f o re y o u f ile d f o r b a n k ru p tc y , a n d            b a n k ru p tc y , a n d w h a t e x ig e n t c irc u m s ta n c e s re q u ire d y o u to f ile
                                                             w h a t e x ig e n t c irc u m s ta n c e s re q u ire d y o u to f ile th is c a s e .        th is c a s e .

                                                             Y o u r c a s e m a y b e d i s m is s e d i f th e c o u rt is d i s s a tis f ie d           Y o u r c a s e m a y b e d i s m is s e d i f th e c o u rt is d i s s a tis f ie d w ith
                                                             w ith y o u r re a s o n s f o r n o t re c e iv in g a b rie f in g b e f o re y o u          y o u r re a s o n s f o r n o t re c e iv in g a b rie f in g b e f o re y o u f ile d f o r
                                                             f ile d f o r b a n k ru p tc y .                                                              b a n k ru p tc y .
                                                             If th e c o u rt is s a tis f ie d w ith y o u r re a s o n s , y o u m u s t s till
                                                             re c e iv e a b rie f in g w ith in 3 0 d a y s a f te r y o u f ile . Y o u                   If th e c o u rt is s a tis f ie d w ith y o u r re a s o n s , y o u m u s t s till re c e iv e
                                                             m u s t f ile a c e rtif ic a te f ro m th e a p p ro v e d a g e n c y , a lo n g             a b rie f in g w ith in 3 0 d a y s a f te r y o u f ile . Y o u m u s t f ile a
                                                             w ith a c o p y o f th e p a y m e n t p la n y o u d e v e lo p e d , if a n y .              c e rtif ic a te f ro m th e a p p ro v e d a g e n c y , a lo n g w ith a c o p y o f th e
                                                             If y o u d o n o t d o s o , y o u r c a s e m a y b e d is m is s e d .                       p a y m e n t p la n y o u d e v e lo p e d , if a n y . If y o u d o n o t d o s o , y o u r
                                                                                                                                                            c a s e m a y b e d i s m is s e d .
                                                             A n y e x te n s io n o f th e 3 0 - d a y d e a d lin e is g ra n te d o n ly f o r
                                                             c a u s e a n d is lim ite d to a m a x im u m o f 1 5 d a y s .                               A n y e x te n s io n o f th e 3 0 - d a y d e a d lin e is g ra n te d o n ly f o r c a u s e
                                                                                                                                                            a n d is lim ite d to a m a x im u m o f 1 5 d a y s .
                                                             I am not required to receive a briefing about credit                                           I am not required to receive a briefing about credit
                                                             counseling because of:                                                                         counseling because of:


                                                                       Incapacity.                                                                                  Incapacity.
                                                                       I h a v e a m e n ta l illn e s s o r a m e n ta l d e f ic ie n c y th a t                  I h a v e a m e n ta l illn e s s o r a m e n ta l d e f ic ie n c y th a t m a k e s
                                                                       m a k e s m e in c a p a b le o f re a liz in g o r m a k in g                               m e in c a p a b l e o f re a l iz i n g o r m a k in g ra tio n a l d e c is io n s
                                                                       ra tio n a l d e c is i o n s a b o u t f in a n c e s .                                     a b o u t f in a n c e s .

                                                                       Disability.                                                                                  Disability.
                                                                       M y p h y s ic a l d is a b ility c a u s e s m e to b e u n a b le to                       M y p h y s ic a l d is a b ility c a u s e s m e to b e u n a b le to
                                                                       p a rtic ip a te in a b rie f in g in p e rs o n , b y p h o n e , o r                       p a rtic ip a te in a b rie f in g in p e rs o n , b y p h o n e , o r th ro u g h
                                                                       th ro u g h th e in te rn e t, e v e n a f te r I re a s o n a b ly trie d                   th e in te rn e t, e v e n a f te r I re a s o n a b ly trie d to d o s o .
                                                                       to d o s o .


                                                                       Active duty.                                                                                 Active duty.
                                                                       I a m c u rre n tly o n a c tiv e m ilita ry d u ty in a                                     I a m c u rre n tly o n a c tiv e m ilita ry d u ty in a m ilita ry c o m b a t
                                                                       m ilita ry c o m b a t z o n e .                                                             zone.
                                                             If y o u b e lie v e y o u a re n o t re q u ire d to re c e i v e a b rie f in g              If y o u b e lie v e y o u a re n o t re q u ire d to re c e iv e a b rie f in g a b o u t
                                                             a b o u t c re d it c o u n s e lin g , y o u m u s t f ile a m o tio n f o r                  c re d it c o u n s e lin g , y o u m u s t f ile a m o tio n f o r w a iv e r o f c re d it
                                                             w a iv e r c re d it c o u n s e lin g w ith th e c o u rt.                                    c o u n s e lin g w ith th e c o u rt.




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                 Cathy Sue Suttles                                                                                                                                             (if known)


Part 6:        Answer These Questions for Reporting Purposes

16. What kind of debts do you           16a.
                                                        Are your debts primarily consumer debts? Consumer debts a re d e f in e d in 1 1 U .S .C . § 1 0 1 (8 ) a s “ in c u rre d b y a n
        have?                                           in d iv id u a l p rim a rily f o r a p e rs o n a l, f a m ily , o r h o u s e h o ld p u rp o s e .
                                                                                                                                                              ”

                                                              N o . G o to lin e 1 6 b .
                                                              Y e s . G o to lin e 1 7 .

                                        16b.            Are your debts primarily business debts? Business debts a re d e b ts th a t y o u in c u rre d to o b ta in m o n e y f o r a
                                                        b u s in e s s o r in v e s tm e n t o r th ro u g h th e o p e ra tio n o f th e b u s in e s s o r in v e s tm e n t.
                                                              N o . G o to lin e 1 6 c .
                                                              Y e s . G o to lin e 1 7 .
                                        16c.            S ta te th e ty p e o f d e b ts y o u o w e th a t a re n o t c o n s u m e r d e b ts o r b u s in e s s d e b ts




17. Are you filing under                     No.        I a m n o t f ilin g u n d e r C h a p te r 7 . G o to lin e 1 8 .
        Chapter 7?

        Do you estimate that after           Y es.      I a m f ilin g u n d e r C h a p te r 7 . D o y o u e s tim a te th a t a f te r a n y e x e m p t p ro p e rty is e x c lu d e d a n d a d m in is tra tiv e e x p e n s e s a re p a id
                                                        th a t f u n d s w ill b e a v a ila b le to d is trib u te to u n s e c u re d c re d ito rs ?
        any exempt property is
        excluded and                                          No
        administrative expenses
                                                              Yes
        are paid that funds will be
        available for distribution to
        unsecured creditors?


18. How many Creditors do you                1 -4 9                                                                      1 ,0 0 0 -5 ,0 0 0                                                   2 5 ,0 0 1 -5 0 ,0 0 0
        estimate that you owe?               5 0 -9 9                                                                    5 0 0 1 -1 0 ,0 0 0                                                  5 0 ,0 0 1 -1 0 0 ,0 0 0
                                             1 0 0 -1 9 9                                                                1 0 ,0 0 1 -2 5 ,0 0 0                                               M o re th a n 1 0 0 , 0 0 0
                                             2 0 0 -9 9 9


19. How much do you estimate                 $ 0 - $ 5 0 ,0 0 0                                                          $ 1 , 0 0 0 , 0 0 1 - $ 1 0 m illio n                                $ 5 0 0 , 0 0 0 , 0 0 1 - $ 1 b illio n
        your assets to be worth?             $ 5 0 ,0 0 1 - $ 1 0 0 ,0 0 0                                               $ 1 0 , 0 0 0 , 0 0 1 - $ 5 0 m illio n                              $ 1 , 0 0 0 , 0 0 0 , 0 0 1 - $ 1 0 b illio n
                                             $ 1 0 0 ,0 0 1 - $ 5 0 0 ,0 0 0                                             $ 5 0 , 0 0 0 , 0 0 1 - $ 1 0 0 m illio n                            $ 1 0 , 0 0 0 , 0 0 0 , 0 0 1 - $ 5 0 b illio n
                                             $ 5 0 0 , 0 0 1 - $ 1 m illio n                                             $ 1 0 0 , 0 0 0 , 0 0 1 - $ 5 0 0 m illio n                          M o re th a n $ 5 0 b illio n


20. How much do you estimate                 $ 0 - $ 5 0 ,0 0 0                                                          $ 1 , 0 0 0 , 0 0 1 - $ 1 0 m illio n                                $ 5 0 0 , 0 0 0 , 0 0 1 - $ 1 b illio n
        your liabilities to be?               $ 5 0 ,0 0 1 - $ 1 0 0 ,0 0 0                                              $ 1 0 , 0 0 0 , 0 0 1 - $ 5 0 m illio n                               $ 1 , 0 0 0 , 0 0 0 , 0 0 1 - $ 1 0 b illio n
                                             $ 1 0 0 ,0 0 1 - $ 5 0 0 ,0 0 0                                             $ 5 0 , 0 0 0 , 0 0 1 - $ 1 0 0 m illio n                             $ 1 0 , 0 0 0 , 0 0 0 , 0 0 1 - $ 5 0 b illio n
                                             $ 5 0 0 , 0 0 1 - $ 1 m illio n                                             $ 1 0 0 , 0 0 0 , 0 0 1 - $ 5 0 0 m illio n                           M o re th a n $ 5 0 b illio n



Part 7:        Sign Below

For you                                 I h a v e e x a m in e d th is p e titio n , a n d I d e c la re u n d e r p e n a lty o f p e rj u ry th a t th e in f o rm a tio n p ro v id e d is tru e a n d c o rre c t.

                                        If I h a v e c h o s e n to f ile u n d e r C h a p te r 7 , I a m a w a re th a t I m a y p ro c e e d , if e lig ib le , u n d e r C h a p te r 7 , 1 1 ,1 2 , o r 1 3 o f title 1 1 , U n ite d S ta te s
                                        C o d e . I u n d e rs ta n d th e re lie f a v a ila b le u n d e r e a c h c h a p te r, a n d I c h o o s e to p ro c e e d u n d e r C h a p te r 7 .

                                        If n o a tto rn e y re p re s e n ts m e a n d I d id n o t p a y o r a g re e to p a y s o m e o n e w h o is n o t a n a tto rn e y to h e lp m e f ill o u t th is d o c u m e n t, I h a v e
                                        o b ta in e d a n d re a d th e n o tic e re q u ire d b y 1 1 U .S .C . § 3 4 2 (b ).

                                        I re q u e s t re lie f in a c c o rd a n c e w ith th e c h a p te r o f title 1 1 , U n ite d S ta te s C o d e , s p e c if ie d in th is p e titio n .

                                        I u n d e rs ta n d m a k in g a f a ls e s ta te m e n t, c o n c e a lin g p ro p e rty , o r o b ta in in g m o n e y o r p ro p e rty b y f ra u d in c o n n e c tio n w ith a b a n k ru p tc y c a s e
                                        c a n re s u lt in f in e s u p to $ 2 5 0 ,0 0 0 , o r im p ris o n m e n t f o r u p to 2 0 y e a rs , o r b o th . 1 8 U .S .C . § § 1 5 2 , 1 3 4 1 , 1 5 1 9 , a n d 3 5 7 1 .
                                        /s/ Cathy Sue Suttles
                                                                                                                                                S ig n a tu re o f D e b to r 2
                                        Cathy Sue Suttles
                                        S ig n a tu re o f D e b to r 1


                                                                Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                         7
O f f ic ia l F o rm 1 0 1                                                                                                                                                                                                              pag e
                                 Case 6:19-bk-01285-CCJ                            Doc 1        Filed 02/28/19                   Page 8 of 63
D e b to r 1                                                                                                          C ase num ber
                 Cathy Sue Suttles                                                                                                    (if known)


                                     E x e c u te d o n                                                     E x e c u te d o n
                                                          February 28, 2019
                                                          M M / DD / Y Y Y Y                                                     M M / DD / Y Y Y Y




                                                          Voluntary Petition for Individuals Filing for Bankruptcy                                            8
O f f ic ia l F o rm 1 0 1                                                                                                                            pag e
                                 Case 6:19-bk-01285-CCJ                                              Doc 1                Filed 02/28/19                             Page 9 of 63
D e b to r 1                                                                                                                                              C ase num ber
                 Cathy Sue Suttles                                                                                                                                          (if known)




For your attorney, if you are        I, th e a tto rn e y f o r th e d e b to r(s ) n a m e d in th is p e titio n , d e c la re th a t I h a v e in f o rm e d th e d e b to r(s ) a b o u t e lig ib ility to p ro c e e d u n d e r
                                     C h a p te r 7 , 1 1 , 1 2 , o r 1 3 o f title 1 1 , U n ite d S ta te s C o d e , a n d h a v e e x p la in e d th e re lie f a v a ila b le u n d e r e a c h c h a p te r f o r w h ic h th e p e rs o n
represented by one                   is e lig ib le . I a ls o c e rtif y th a t I h a v e d e liv e re d to th e d e b to r(s ) th e n o tic e re q u ire d b y 1 1 U .S .C . § 3 4 2 (b ) a n d , in a c a s e in w h ic h §
                                     7 0 7 (b )(4 )(D ) a p p lie s , c e rtif y th a t I h a v e n o k n o w le d g e a f te r a n in q u iry th a t th e in f o rm a tio n in th e s c h e d u le s f ile d w ith th e p e titio n is
If you are not represented by an     in c o rre c t.

attorney, you do not need to file                                                                                                               D a te
                                     /s/ Sheryl S Zust                                                                                                            February 28, 2019
this page.                           S ig n a tu re o f A tto rn e y f o r D e b to r                                                                             M M / DD / Y Y Y Y

                                     Sheryl S Zust 0934259
                                     P rin te d n a m e

                                     Sheryl S Zust PA
                                     F irm n a m e

                                     4649 Clyde Morris Blvd.
                                     Suite 610
                                     Port Orange, FL 32129
                                     N u m b e r, S tre e t, C ity , S ta te & Z IP C o d e

                                     C o n ta c t p h o n e                                                                           E m a il a d d re s s
                                                               (386) 258 3900
                                     0934259 FL
                                     B a r n u m b e r & S ta te




                                                                   Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                    9
O f f ic ia l F o rm 1 0 1                                                                                                                                                                                                             pag e
                                                    Case 6:19-bk-01285-CCJ                                             Doc 1                Filed 02/28/19                              Page 10 of 63
 Fill in this information to identify your case:

 D e b to r 1
                                          Cathy Sue Suttles
                                          F irs t N a m e                                          M id d le N a m e                  La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                          M id d le N a m e                  La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt f o r th e :                             M ID D L E D IS T R IC T O F F L O R ID A

 C ase num ber
 (if k n o w n )                                                                                                                                                                                              C h e c k if th is is a n
                                                                                                                                                                                                              a m e n d e d f ilin g



O f f ic ia l F o rm 1 0 6 S u m
Summary of Y our Assets and L iabilities and Certain Statistical I nformation                                                                                                                           12/15
Be as complete and accurate as possible. I f two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. I f you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.

 P a rt 1 :           Summarize Y our A ssets

                                                                                                                                                                                                             Y our assets
                                                                                                                                                                                                             V a lu e o f w h a t y o u o w n

 1.         Schedule A /B: Property (O f f ic ia l F o rm 1 0 6 A /B )
            1 a . C o p y li n e 5 5 , T o ta l re a l e s ta te , f ro m S c h e d u le A /B ................................................................................................                $                     105,787.00

            1 b . C o p y li n e 6 2 , T o ta l p e rs o n a l p ro p e rty , f ro m S c h e d u le A /B .....................................................................................                $
                                                                                                                                                                                                                                          4,265.41
            1 c . C o p y li n e 6 3 , T o ta l o f a ll p ro p e rty o n S c h e d u le A /B ...............................................................................................                 $
                                                                                                                                                                                                                                    110,052.41
 P a rt 2 :           Summarize Y our L iabilities

                                                                                                                                                                                                             Y our liabilities
                                                                                                                                                                                                             A m ount y ou o w e

 2.         Schedule D: Creditors Who Have Claims Secured by Property (O f f ic ia l F o rm 1 0 6 D )
            2 a . C o p y th e to ta l y o u lis te d in C o lu m n A , Amount of claim, a t th e b o tto m o f th e la s t p a g e o f P a rt 1 o f Schedule D...                                            $                                     0.00

 3.         Schedule E/F: Creditors Who Have Unsecured Claims (O f f ic ia l F o rm 1 0 6 E /F )
            3 a . C o p y th e to ta l c la im s f ro m P a rt 1 (p rio rity u n s e c u re d c la im s ) f ro m lin e 6 e o f Schedule E/F .................................                                 $                                     0.00

            3 b . C o p y th e to ta l c la im s f ro m P a rt 2 (n o n p rio rity u n s e c u re d c la im s ) f ro m lin e 6 j o f Schedule E/F ............................                                $
                                                                                                                                                                                                                                         16,688.00


                                                                                                                                                                                 Y our total liabilities $                          16,688.00

 P a rt 3 :           Summarize Y our I ncome and Expenses

 4.         Schedule I: Your Income (O f f ic ia l F o rm 1 0 6 I)
            C o p y y o u r c o m b in e d m o n th ly in c o m e f ro m lin e 1 2 o f Schedule I................................................................................                             $                           1,495.41

 5.         Schedule J: Your Expenses (O f f ic ia l F o rm 1 0 6 J )
            C o p y y o u r m o n th ly e x p e n s e s f ro m lin e 2 2 c o f Schedule J..........................................................................                                           $                           1,476.01

 P a rt 4 :           A nswer T hese Questions for A dministrative and Statistical Records

 6.         A re you filing for bankruptcy under Chapters 7, 11, or 13?
                  N o . Y o u h a v e n o th in g to re p o rt o n th is p a rt o f th e f o rm . C h e c k th is b o x a n d s u b m it th is f o rm to th e c o u rt w ith y o u r o th e r s c h e d u le s .

                      Y es
 7.         W hat kind of debt do you have?

                      Y our debts are primarily consumer debts. Consumer debts a re th o s e “ in c u rre d b y a n in d iv id u a l p rim a rily f o r a p e rs o n a l, f a m ily , o r h o u s e h o ld p u rp o s e .”
                      1 1 U .S .C . § 1 0 1 (8 ). F ill o u t lin e s 8 - 9 g f o r s ta tis tic a l p u rp o s e s . 2 8 U .S .C . § 1 5 9 .


                                                             Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                         1        2
 O f f ic ia l F o rm 1 0 6 S u m                                                                                                                                                                                      pag e        of
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                           B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                          Doc 1                 Filed 02/28/19                   Page 11 of 63
 D e b to r 1                                                                                                         C a s e n u m b e r (if known)
                        Cathy Sue Suttles
                      Y our debts are not primarily consumer debts. Y o u h a v e n o th in g to re p o rt o n th is p a rt o f th e f o rm . Check this box a n d s u b m it th is f o rm to th e c o u rt w ith
                      y o u r o th e r s c h e d u le s .

 8.         From the Statement of Your Current Monthly Income: C o p y y o u r to ta l c u rre n t m o n th ly in c o m e f ro m O f f ic ia l F o rm 1 2 2 A - 1
            L in e 1 1 ; OR , F o rm 1 2 2 B L in e 1 1 ; OR , F o rm 1 2 2 C - 1 L in e 1 4 .                                                                                              $                    0.00


 9.         Copy the following special categories of claims from Part 4, line 6 of Schedule E/F :

                                                                                                                                                                    T otal claim
            From Part 4 on Schedule E/F , copy the following:

            9 a . D o m e s tic s u p p o rt o b lig a tio n s (C o p y lin e 6 a .)                                                                                 $
                                                                                                                                                                                     0.00
            9 b . T a x e s a n d c e rta in o th e r d e b ts y o u o w e th e g o v e rn m e n t. (C o p y lin e 6 b .)                                            $
                                                                                                                                                                                     0.00
            9 c . C la im s f o r d e a th o r p e rs o n a l in j u ry w h ile y o u w e re in to x ic a te d . (C o p y lin e 6 c .)                               $
                                                                                                                                                                                     0.00
            9 d . S tu d e n t lo a n s . (C o p y lin e 6 f .)                                                                                                      $
                                                                                                                                                                                     0.00
            9 e . O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt a s p rio rity
                  c la im s . (C o p y li n e 6 g .)                                                                                                                 $               0.00

            9 f . D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts . (C o p y lin e 6 h .)                         +$               0.00

            9 g . T otal. A d d lin e s 9 a th ro u g h 9 f .                                                                                                   $
                                                                                                                                                                                   0.00




O f f ic ia l F o rm 1 0 6 S u m                                                  Summary of Y our Assets and L iabilities and Certain Statistical I nformation                                              pag e 2 of 2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                    B e s t C a s e B a n k ru p tc y
                                                          Case 6:19-bk-01285-CCJ                                                              Doc 1                   Filed 02/28/19             Page 12 of 63
 Fill in this information to identify your case and this filing:

 D e b to r 1
                                                Cathy Sue Suttles
                                                F irs t N a m e                                             M id d le N a m e                                  La s t Na m e

 D e b to r 2
 (S p o u s e , if filin g )                    F irs t N a m e                                             M id d le N a m e                                  La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                                   M ID D L E D IS T R IC T O F F L O R ID A


 C a s e num be r                                                                                                                                                                                                                                 C h e c k if th is is a n
                                                                                                                                                                                                                                                  a m e n d e d filin g



O f f ic ia l F o rm 1 0 6 A /B
Schedule A/B: Property                                                                                                                                                                                                                          12/15
I n each category, separately list and describe items. L ist an asset only once. If an asset fits in more than one category, list the asset in the category where you think it fits best. Be as
complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:            Describe Each Residence, Building, L and, or Other Real Estate Y ou Own or H ave an I nterest I n

1 . Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

           N o . G o to P a rt 2 .

           Y e s . W h e re is th e p ro p e rty ?




 1 .1                                                                                                                    W hat is the property? C h e c k a ll th a t a p p ly
            2422 Otis Ave                                                                                                          S i n g l e - f a m il y h o m e                             D o n o t d e d u c t s e c u re d c la im s o r e x e m p tio n s . P u t th e
            S tre e t a d d re s s , if a v a ila b le , o r o th e r d e s c rip tio n                                                                                                         a m o u n t o f a n y s e c u re d c la im s o n Schedule D: Creditors
                                                                                                                                   D u p le x o r m u lti- u n it b u ild in g
                                                                                                                                                                                                Who Have Claims Secured by Property.
                                                                                                                                   C o n d o m in iu m o r c o o p e ra tiv e

                                                                                                                                   M a n u f a c tu re d o r m o b ile h o m e
                                                                                                                                                                                                Current value of the                       Current value of the
            Deltona                                                  FL                   32738-0000                               L and                                                        entire property?                           portion you own?
            C ity                                                    S ta te                 Z IP C o d e                          In v e s tm e n t p ro p e rty                                           $105,787.00                                  $105,787.00
                                                                                                                                   T im e s h a re
                                                                                                                                                                                                Describe the nature of your ownership interest (such
                                                                                                                                   O th e r
                                                                                                                                                                                                as fee simple, tenancy by the entireties, or a life
                                                                                                                         W ho has an interest in the property? C h e c k o n e                  estate), if known.
                                                                                                                                D e b to r 1 o n ly                                             Fee simple
            Volusia                                                                                                                D e b to r 2 o n ly
            C o u n ty                                                                                                             D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                                                                                                                       Check if this is community property
                                                                                                                                   A t le a s t o n e o f th e d e b to rs a n d a n o th e r          (s e e i n s tru c tio n s )

                                                                                                                         Other information you wish to add about this item, such as local
                                                                                                                         property identification number:




 2.      A dd the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages you have
         attached for Part 1. W rite that number here...........................................................................= >                                                                                                                 $105,787.00
 Part 2:            Describe Y our V ehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? In c lu d e a n y v e h ic le s y o u o w n th a t s o m e o n e e ls e d riv e s .
If y o u le a s e a v e h ic le , a ls o re p o rt it o n Schedule G: Executory Contracts and Unexpired Leases.




O ffic ia l F o rm 1 0 6 A /B                                                                                                   S c h e d u le A /B : P ro p e rty                                                                                                        pa ge 1
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                           B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                                   Doc 1               Filed 02/28/19          Page 13 of 63
 D e b to r 1                                                                                                                                                                C a s e n u m b e r (if known)
                            Cathy Sue Suttles
3 . Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Y es

                                                                                                                                                                                        D o n o t d e d u c t s e c u re d c la im s o r e x e m p tio n s . P u t th e
    3 .1       M ake:              Mazda                                                                W ho has an interest in the property? C h e c k o n e                           a m o u n t o f a n y s e c u re d c la im s o n Schedule D: Creditors
               M o d e l:          Tribute                                                                     D e b to r 1 o n ly                                                      Who Have Claims Secured by Property.
               Y e a r:            2006                                                                        D e b to r 2 o n ly
                                                                                                                                                                                        Current value of the                      Current value of the
               A p p ro x im a te m il e a g e :                                                               D e b to r 1 a n d D e b to r 2 o n ly                                   entire property?                          portion you own?
               O th e r in f o rm a tio n :                                                                    A t l e a s t o n e o f th e d e b to rs a n d a n o th e r

              VIN No.: 4F2YZ02ZX6KM23475
                                                                                                               Check if this is community property                                                     $1,425.00                                     $1,425.00
                                                                                                               (s e e in s tru c tio n s )



                                                                                                                                                                                        D o n o t d e d u c t s e c u re d c la im s o r e x e m p tio n s . P u t th e
    3 .2       M ake:              Ford                                                                 W ho has an interest in the property? C h e c k o n e                           a m o u n t o f a n y s e c u re d c la im s o n Schedule D: Creditors
               M o d e l:          Mustang                                                                     D e b to r 1 o n ly                                                      Who Have Claims Secured by Property.
               Y e a r:            2003                                                                        D e b to r 2 o n ly
                                                                                                                                                                                        Current value of the                      Current value of the
               A p p ro x im a te m il e a g e :                                                               D e b to r 1 a n d D e b to r 2 o n ly                                   entire property?                          portion you own?
               O th e r in f o rm a tio n :                                                                    A t l e a s t o n e o f th e d e b to rs a n d a n o th e r

              Doesnt Run.
                                                                                                               Check if this is community property                                                         $500.00                                       $500.00
                                                                                                               (s e e in s tru c tio n s )




4 . W atercraft, aircraft, motor homes, A T V s and other recreational vehicles, other vehicles, and accessories
    Examples: B o a ts , tra i le rs , m o to rs , p e rs o n a l w a te rc ra f t, f is h in g v e s s e ls , s n o w m o b ile s , m o to rc y c le a c c e s s o rie s

           No
           Y es



 5 A dd the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages you have
   .attached for Part 2. W rite that number here.............................................................................=>                                                                                                                 $1,925.00

 Part 3:          Describe Y our Personal and H ousehold I tems
 Do you own or have any legal or equitable interest in any of the following items?                                                                                                                                            Current value of the
                                                                                                                                                                                                                              portion you own?
                                                                                                                                                                                                                              D o n o t d e d u c t s e c u re d
                                                                                                                                                                                                                              c la i m s o r e x e m p tio n s .
6 . H ousehold goods and furnishings
     Examples: M a j o r a p p lia n c e s , f u rn itu re , lin e n s , c h in a , k itc h e n w a re
        No
             Y e s . D e s c rib e .....


                                                            Living Room Set, Bedroom Set, Washer, Dryer, Refrigerator, Microwave,
                                                            Small Appliances, Misc. Kitchenware, Books, Pictures, Lawnmower,
                                                            Tools.                                                                                                                                                                                         $425.00


7 . Electronics
     Examples: T e le v is io n s a n d ra d io s ; a u d io , v id e o , s te re o , a n d d ig ita l e q u ip m e n t; c o m p u te rs , p rin te rs , s c a n n e rs ; m u s ic c o l le c tio n s ; e le c tro n ic d e v ic e s in c l u d in g c e l l
                 p h o n e s , c a m e ra s , m e d ia p la y e rs , g a m e s
        No
             Y e s . D e s c rib e .....


                                                            TV (2), Cell Phone, Computer, CD Player, VCR/DVD Player, DVD's/Video
                                                            Tapes.                                                                                                                                                                                         $215.00




O ffic ia l F o rm 1 0 6 A /B                                                                                            S c h e d u le A /B : P ro p e rty                                                                                                      pa ge 2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                  B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                 Doc 1             Filed 02/28/19                         Page 14 of 63
 D e b to r 1                                                                                                                                                         C a s e n u m b e r (if known)
                           Cathy Sue Suttles
8 . Collectibles of value
     Examples: A n tiq u e s a n d f ig u rin e s ; p a in tin g s , p rin ts , o r o th e r a rtw o rk ; b o o k s , p ic tu re s , o r o th e r a rt o b j e c ts ; s ta m p , c o in , o r b a s e b a ll c a rd c o lle c tio n s ; o th e r
                  c o l le c tio n s , m e m o ra b ilia , c o lle c tib le s
             No
             Y e s . D e s c rib e .....

9 . Equipment for sports and hobbies
     Examples: S p o rts , p h o to g ra p h ic , e x e rc is e , a n d o th e r h o b b y e q u ip m e n t; b ic y c l e s , p o o l ta b le s , g o lf c l u b s , s k is ; c a n o e s a n d k a y a k s ; c a rp e n try to o ls ; m u s ic a l
                 in s tru m e n ts
             No
             Y e s . D e s c rib e .....

1 0 . Firearms
       Examples: P is to ls , rif l e s , s h o tg u n s , a m m u n i tio n , a n d re la te d e q u i p m e n t
         No
         Y e s . D e s c rib e .....

1 1 . Clothes
       Examples: E v e ry d a y c l o th e s , f u rs , le a th e r c o a ts , d e s ig n e r w e a r, s h o e s , a c c e s s o rie s
        No
             Y e s . D e s c rib e .....


                                                            Clothes.                                                                                                                                                                                  $105.00


1 2 . Jewelry
       Examples: E v e ry d a y j e w e lry , c o s tu m e j e w e lry , e n g a g e m e n t rin g s , w e d d in g rin g s , h e irlo o m j e w e lry , w a tc h e s , g e m s , g o l d , s ilv e r
        No
             Y e s . D e s c rib e .....


                                                            Misc. Jewelry & Costume Jewelry.                                                                                                                                                          $100.00


1 3 . Non-farm animals
       Examples: D o g s , c a ts , b ird s , h o rs e s
        No
        Y e s . D e s c rib e .....

1 4 . A ny other personal and household items you did not already list, including any health aids you did not list
         No
         Y e s . G iv e s p e c if ic in f o rm a tio n .....


 15.        A dd the dollar value of all of your entries from Part 3, including any entries for pages you have attached for Part 3.
            W rite that number here ..............................................................................                                                                                                                            $845.00


 Part 4:         Describe Y our Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                                                                            Current value of the
                                                                                                                                                                                                                        portion you own?
                                                                                                                                                                                                                        D o n o t d e d u c t s e c u re d
                                                                                                                                                                                                                        c la i m s o r e x e m p tio n s .

1 6 . Cash
       Examples: M o n e y y o u h a v e in y o u r w a lle t, in y o u r h o m e , in a s a f e d e p o s it b o x , a n d o n h a n d w h e n y o u f ile y o u r p e titio n
        No
        Y e s ................................................................................................................

1 7 . Deposits of money
       Examples: C h e c k in g , s a v in g s , o r o th e r f in a n c ia l a c c o u n ts ; c e rtif ic a te s o f d e p o s it; s h a re s in c re d it u n io n s , b ro k e ra g e h o u s e s , a n d o th e r s im ila r in s titu tio n s . If y o u
                          h a v e m u ltip le a c c o u n ts w ith th e s a m e in s titu tio n , lis t e a c h .
        No
        Y e s ........................                                                                     In s titu tio n n a m e :



O ffic ia l F o rm 1 0 6 A /B                                                                                  S c h e d u le A /B : P ro p e rty                                                                                                          pa ge 3
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                            B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                 Doc 1               Filed 02/28/19                           Page 15 of 63
 D e b to r 1                                                                                                                                                             C a s e n u m b e r (if known)
                           Cathy Sue Suttles


                                                               1 7 .1 .       Checking                               Bank of America                                                                                               $1,495.41


1 8 . Bonds, mutual funds, or publicly traded stocks
       Examples: B o n d f u n d s , in v e s tm e n t a c c o u n ts w ith b ro k e ra g e f irm s , m o n e y m a rk e t a c c o u n ts
        No
        Y e s ..................                        In s titu tio n o r is s u e r n a m e :

1 9 . Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an L L C, partnership, and joint venture
        No
        Y e s . G iv e s p e c if ic in f o rm a tio n a b o u t th e m ...................
                                                     N a m e o f e n tity :                            % o f o w n e rs h ip :

2 0 . Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments in c lu d e p e rs o n a l c h e c k s , c a s h ie rs ’ c h e c k s , p ro m is s o ry n o te s , a n d m o n e y o rd e rs .
       Non-negotiable instruments a re th o s e y o u c a n n o t tra n s f e r to s o m e o n e b y s ig n in g o r d e liv e rin g th e m .
        No
        Y e s . G iv e s p e c if ic in f o rm a tio n a b o u t th e m
                                                      Is s u e r n a m e :

2 1 . Retirement or pension accounts
       Examples: In te re s ts in IR A , E R IS A , K e o g h , 4 0 1 (k ), 4 0 3 (b ), th rif t s a v in g s a c c o u n ts , o r o th e r p e n s io n o r p ro f it- s h a rin g p la n s
        No
        Y e s . L is t e a c h a c c o u n t s e p a ra te ly .
                                                     T y p e o f a c c o u n t:                 In s titu tio n n a m e :

2 2 . Security deposits and prepayments
       Y o u r s h a re o f a ll u n u s e d d e p o s its y o u h a v e m a d e s o th a t y o u m a y c o n tin u e s e rv ic e o r u s e f ro m a c o m p a n y
       Examples: A g re e m e n ts w ith la n d lo rd s , p re p a id re n t, p u b lic u tilitie s (e le c tric , g a s , w a te r), te le c o m m u n ic a tio n s c o m p a n ie s , o r o th e rs
             No
             Y e s . .....................                                                                           In s titu tio n n a m e o r in d iv id u a l:

2 3 . A nnuities (A c o n tra c t f o r a p e rio d ic p a y m e n t o f m o n e y to y o u , e ith e r f o r lif e o r f o r a n u m b e r o f y e a rs )
         No
         Y e s .............          Is s u e r n a m e a n d d e s c rip tio n .

2 4 . I nterests in an education I RA , in an account in a qualified A BL E program, or under a qualified state tuition program.
       2 6 U .S .C . § § 5 3 0 (b )(1 ), 5 2 9 A (b ), a n d 5 2 9 (b )(1 ).
             No
             Y e s .............                     In s titu tio n n a m e a n d d e s c rip tio n . S e p a ra te ly f ile th e re c o rd s o f a n y in te re s ts .1 1 U .S .C . § 5 2 1 (c ):

2 5 . T rusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
         No
         Y e s . G iv e s p e c if ic in f o rm a tio n a b o u t th e m ...

2 6 . Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: In te rn e t d o m a in n a m e s , w e b s ite s , p ro c e e d s f ro m ro y a ltie s a n d lic e n s in g a g re e m e n ts
        No
        Y e s . G iv e s p e c if ic in f o rm a tio n a b o u t th e m ...

2 7 . L icenses, franchises, and other general intangibles
       Examples: B u ild in g p e rm its , e x c l u s iv e lic e n s e s , c o o p e ra tiv e a s s o c ia tio n h o ld in g s , liq u o r lic e n s e s , p ro f e s s io n a l lic e n s e s
         No
         Y e s . G iv e s p e c if ic in f o rm a tio n a b o u t th e m ...

 M oney or property owed to you?                                                                                                                                                                           Current value of the
                                                                                                                                                                                                           portion you own?
                                                                                                                                                                                                           D o n o t d e d u c t s e c u re d
                                                                                                                                                                                                           c la i m s o r e x e m p tio n s .




O ffic ia l F o rm 1 0 6 A /B                                                                                  S c h e d u le A /B : P ro p e rty                                                                                            pa ge 4
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                              B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                 Doc 1             Filed 02/28/19                     Page 16 of 63
 D e b to r 1                                                                                                                                                     C a s e n u m b e r (if known)
                           Cathy Sue Suttles
2 8 . T ax refunds owed to you
         No
         Y e s . G iv e s p e c if ic i n f o rm a tio n a b o u t th e m , in c l u d in g w h e th e r y o u a lre a d y f ile d th e re tu rn s a n d th e ta x y e a rs .......



2 9 . Family support
       Examples: P a s t d u e o r lu m p s u m a lim o n y , s p o u s a l s u p p o rt, c h ild s u p p o rt, m a in te n a n c e , d iv o rc e s e ttle m e n t, p ro p e rty s e ttle m e n t
        No
        Y e s . G iv e s p e c if ic in f o rm a tio n ......


3 0 . Other amounts someone owes you
       Examples: U n p a id w a g e s , d is a b ility in s u ra n c e p a y m e n ts , d is a b ility b e n e f its , s ic k p a y , v a c a tio n p a y , w o rk e rs ’ c o m p e n s a tio n , S o c ia l S e c u rity b e n e f its ; u n p a id lo a n s
                  y o u m a d e to s o m e o n e e ls e
             No
             Y e s . G iv e s p e c if ic in f o rm a tio n ..

3 1 . I nterests in insurance policies
        Examples: H e a lth , d is a b ility , o r lif e in s u ra n c e ; h e a lth s a v in g s a c c o u n t (H S A ); c re d it, h o m e o w n e r ’ s , o r re n te r’ s i n s u ra n c e
          No
          Y e s . N a m e th e in s u ra n c e c o m p a n y o f e a c h p o lic y a n d lis t its v a lu e .
                                                      C om pany nam e:                                                                         B e n e f ic ia ry :                                                  S u rre n d e r o r re f u n d
                                                                                                                                                                                                                     v a lu e :

3 2 . A ny interest in property that is due you from someone who has died
       If y o u a re th e b e n e f ic i a ry o f a liv in g tru s t, e x p e c t p ro c e e d s f ro m a lif e in s u ra n c e p o l ic y , o r a re c u rre n tly e n title d to re c e i v e p ro p e rty b e c a u s e s o m e o n e h a s d ie d .
             No
             Y e s . G iv e s p e c if ic in f o rm a tio n ..


3 3 . Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: A c c id e n ts , e m p lo y m e n t d is p u te s , in s u ra n c e c la im s , o r rig h ts to s u e
        No
        Y e s . D e s c rib e e a c h c la im .........

3 4 . Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Y e s . D e s c rib e e a c h c la im .........

3 5 . A ny financial assets you did not already list
         No
         Y e s . G iv e s p e c if ic in f o rm a tio n ..


 36.        A dd the dollar value of all of your entries from Part 4, including any entries for pages you have attached for Part 4.
            W rite that number here.....................................................................................................................                                                                            $1,495.41

 Part 5:         Describe Any Business-Related Pr operty Y ou Own or H ave an I nterest I n. L ist any real estate in Part 1.

3 7 . Do you own or have any legal or equitable interest in any business-related property?
           N o . G o to P a rt 6 .
           Y e s . G o to lin e 3 8 .



 Part 6:         Describe Any Farm- and Commercial Fishing-Related Pr operty Y ou Own or H ave an I nterest I n.
                 If y o u o w n o r h a v e a n in te re s t in f a rm la n d , lis t it in P a rt 1 .

4 6 . Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
                N o . G o to P a rt 7 .
                Y e s . G o to lin e 4 7 .



 Part 7:                   Describe All Pr operty Y ou Own or H ave an I nterest in T hat Y ou Did Not L ist Above


O ffic ia l F o rm 1 0 6 A /B                                                                                  S c h e d u le A /B : P ro p e rty                                                                                                     pa ge 5
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                      B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                 Doc 1             Filed 02/28/19              Page 17 of 63
 D e b to r 1                                                                                                                                               C a s e n u m b e r (if known)
                           Cathy Sue Suttles

5 3 . Do you have other property of any kind you did not already list?
       Examples: S e a s o n tic k e ts , c o u n try c lu b m e m b e rs h ip
        No
        Y e s . G iv e s p e c if ic in f o rm a tio n .........


 54.        A dd the dollar value of all of your entries from Part 7. W rite that number here ....................................                                                                                  $0.00

 Part 8:                L ist the T otals of Each Part of this Form

 55.        Part 1: T otal real estate, line 2 ......................................................................................................................                                      $105,787.00
 56.        Part 2: T otal vehicles, line 5                                                                                                   $1,925.00
 57.        Part 3: T otal personal and household items, line 15                                                                               $845.00
 58.        Part 4: T otal financial assets, line 36                                                                                          $1,495.41
 59.        Part 5: T otal business-related property, line 45                                                                                     $0.00
 60.        Part 6: T otal farm- and fishing-related property, line 52                                                                            $0.00
 61.        Part 7: T otal other property not listed, line 54                                                                 +
                                                                                                                                                  $0.00
 62.        T otal personal property. A d d lin e s 5 6 th ro u g h 6 1 ...                                                                               C o p y p e rs o n a l p ro p e rty to ta l
                                                                                                                                              $4,265.41                                                           $4,265.41

 63.        T otal of all property on Schedule A /B . A d d lin e 5 5 + lin e 6 2                                                                                                                       $110,052.41




O ffic ia l F o rm 1 0 6 A /B                                                                                  S c h e d u le A /B : P ro p e rty                                                                           pa ge 6
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                             B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                    Doc 1        Filed 02/28/19                       Page 18 of 63
 Fill in this information to identify your case:

 D e b to r 1
                                          Cathy Sue Suttles
                                          F irs t N a m e                                          M id d le N a m e                  La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                          M id d le N a m e                  La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                              M ID D L E D IS T R IC T O F F L O R ID A


 C a s e num be r
 (if k n o w n )                                                                                                                                                                                        C h e c k if th is is a n
                                                                                                                                                                                                        a m e n d e d filin g


O f f ic ia l F o rm 1 0 6 C
Schedule C: T he Property Y ou Claim as Exempt                                                                                                                                                        4/16
B e a s c o m p le te a n d a c c u ra te a s p o s s ib le . If tw o m a rrie d p e o p le a re filin g to g e th e r, b o th a re e q u a lly re s p o n s ib le fo r s u p p ly in g c o rre c t in fo rm a tio n . U s in g
th e p ro p e rty y o u lis te d o n                                  (O ffic ia l F o rm 1 0 6 A /B ) a s y o u r s o u rc e , lis t th e p ro p e rty th a t y o u c la im a s e x e m p t. If m o re s p a c e is
                                         Schedule A/B: Property
n e e d e d , fill o u t a n d a tta c h to th is p a g e a s m a n y c o p ie s o f                                 a s n e c e s s a ry . O n th e to p o f a n y a d d itio n a l p a g e s , w rite y o u r n a m e a n d
                                                                                     Part 2: Additional Page
c a s e n u m b e r (if k n o w n ).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. A lternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions— such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds— may be unlimited in dollar amount.
H owever, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

 Part 1:               I dentify the Property Y ou Claim as Exempt

 1 . W hich set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

               Y o u a re c la im in g s ta te a n d fe d e ra l n o n b a n k ru p tc y e x e m p tio n s . 1 1 U . S . C . § 5 2 2 (b )(3 )

               Y o u a re c la im in g fe d e ra l e x e m p tio n s . 1 1 U . S . C . § 5 2 2 (b )(2 )

 2 . For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

         Brief description of the property and line on Schedule Current value of the                                               Amount of the exemption you claim                       Specific laws that allow exemption
         A/B that lists this property                           portion you own
                                                                C o p y th e v a lu e f ro m                                       Check only one box for each exemption.
                                                                                                        Schedule A/B

         2422 Otis Ave Deltona, FL 32738                                                                        $105,787.00                                        $105,787.00             Fla. Const. art. X, § 4(a)(1); Fla.
         Volusia County                                                                                                                                                                    Stat. Ann. §§ 222.01 & 222.02
         L in e fro m             :                                                                                                       1 0 0 % o f fa ir m a rk e t v a lu e , u p to
                      Schedule A/B 1.1
                                                                                                                                          a n y a p p lic a b le s ta tu to ry lim it


         2006 Mazda Tribute                                                                                            $1,425.00                                       $1,000.00           Fla. Stat. Ann. § 222.25(1)
         VIN No.: 4F2YZ02ZX6KM23475
         L in e fro m             :                                                                                                       1 0 0 % o f fa ir m a rk e t v a lu e , u p to
                      Schedule A/B 3.1
                                                                                                                                          a n y a p p lic a b le s ta tu to ry lim it


         2006 Mazda Tribute                                                                                            $1,425.00                                          $155.00          Fla. Const. art. X, § 4(a)(2)
         VIN No.: 4F2YZ02ZX6KM23475
         L in e fro m             :                                                                                                       1 0 0 % o f fa ir m a rk e t v a lu e , u p to
                      Schedule A/B 3.1
                                                                                                                                          a n y a p p lic a b le s ta tu to ry lim it


         Living Room Set, Bedroom Set, Washer,                                                                          $425.00                                           $425.00          Fla. Const. art. X, § 4(a)(2)
         Dryer, Refrigerator, Microwave, Small
         Appliances, Misc. Kitchenware, Books,                                                                                            1 0 0 % o f fa ir m a rk e t v a lu e , u p to
         Pictures, Lawnmower, Tools.                                                                                                      a n y a p p lic a b le s ta tu to ry lim it
         L in e fro m             :
                      Schedule A/B 6.1



O ffic ia l F o rm 1 0 6 C                                                                  Schedule C: The Property You Claim as Exempt                                                                                        pa ge          of
                                                                                                                                                                                                                                           1        2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                         B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                             Doc 1       Filed 02/28/19                           Page 19 of 63
 D e b to r 1                                                                                                                                       C a s e n u m b e r (if k n o w n )
                      Cathy Sue Suttles
         Brief description of the property and line on Schedule Current value of the                                        Amount of the exemption you claim                             Specific laws that allow exemption
         A/B that lists this property                           portion you own
                                                                C o p y th e v a lu e f ro m                                Check only one box for each exemption.
                                                                                                        Schedule A/B

         TV (2), Cell Phone, Computer, CD                                                                         $215.00                                            $215.00              Fla. Const. art. X, § 4(a)(2)
         Player, VCR/DVD Player, DVD's/Video
         Tapes.                                                                                                                   1 0 0 % o f fa ir m a rk e t v a lu e , u p to
         L in e fro m             :
                      Schedule A/B 7.1
                                                                                                                                  a n y a p p lic a b le s ta tu to ry lim it


         Clothes.                                                                                                 $105.00                                            $105.00              Fla. Const. art. X, § 4(a)(2)
         L in e fro m                    :
                             Schedule A/B 11.1                                                                                    1 0 0 % o f fa ir m a rk e t v a lu e , u p to
                                                                                                                                  a n y a p p lic a b le s ta tu to ry lim it


         Misc. Jewelry & Costume Jewelry.                                                                         $100.00                                            $100.00              Fla. Const. art. X, § 4(a)(2)
         L in e fro m             :
                      Schedule A/B 12.1                                                                                           1 0 0 % o f fa ir m a rk e t v a lu e , u p to
                                                                                                                                  a n y a p p lic a b le s ta tu to ry lim it


         Checking: Bank of America                                                                              $1,495.41                                         $1,495.41               Fla. Stat. Ann. § 222.201; 11
         L in e fro m             :                                                                                                                                                       U.S.C. § 522(d)(10)(A)
                      Schedule A/B 17.1                                                                                           1 0 0 % o f fa ir m a rk e t v a lu e , u p to
                                                                                                                                  a n y a p p lic a b le s ta tu to ry lim it


 3 . A re you claiming a homestead exemption of more than $160,375?
     (S u b je c t to a d ju s tm e n t o n 4 /0 1 /1 9 a n d e v e ry 3 y e a rs a fte r th a t fo r c a s e s file d o n o r a fte r th e d a te o f a d ju s tm e n t. )
                   No
                   Y e s . D id y o u a c q u ire th e p ro p e rty c o v e re d b y th e e x e m p tio n w ith in 1 , 2 1 5 d a y s b e fo re y o u file d th is c a s e ?
                                No
                                Yes




O ffic ia l F o rm 1 0 6 C                                                                  Schedule C: The Property You Claim as Exempt                                                                                     pa ge          of
                                                                                                                                                                                                                                        2        2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                      B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                             Doc 1          Filed 02/28/19                        Page 20 of 63
 Fill in this information to identify your case:

 D e b to r 1
                                          Cathy Sue Suttles
                                          F irs t N a m e                                          M id d le N a m e             La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                          M id d le N a m e             La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                              M ID D L E D IS T R IC T O F F L O R ID A


 C a s e num be r
 (if k n o w n )                                                                                                                                                                                       C h e c k if th is is a n
                                                                                                                                                                                                       a m e n d e d filin g


O f f ic ia l F o rm 1 0 6 D
Schedule D: Creditors W ho H ave Claims Secured by Pr operty                                                                                                                                                                     12/15
Be as complete and accurate as possible. I f two married people are filing together, both are equally responsible for supplying correct information. I f more space is needed, copy the
Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if known).
1. Do any creditors have claims secured by your property?
               N o . C h e c k th is b o x a n d s u b m it th is f o rm to th e c o u rt w ith y o u r o th e r s c h e d u le s . Y o u h a v e n o th in g e ls e to re p o rt o n th is f o rm .
               Y e s . F ill in a ll o f th e in f o rm a tio n b e lo w .




                                                                                                                                                                                                                                              of
O f f ic ia l F o rm 1 0 6 D                                                      Schedule D: Creditors W ho H ave Claims Secured by Property                                                                                    pag e 1           1
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                        B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                             Doc 1                   Filed 02/28/19                                  Page 21 of 63
 Fill in this information to identify your case:

 D e b to r 1
                                          Cathy Sue Suttles
                                          F irs t N a m e                                          M id d le N a m e                                    La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                          M id d le N a m e                                    La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                              M ID D L E D IS T R IC T O F F L O R ID A


 C a s e num be r
 (if k n o w n )                                                                                                                                                                                                                                     C h e c k if th is is a n
                                                                                                                                                                                                                                                     a m e n d e d filin g


O f f ic ia l F o rm 1 0 6 E /F
Schedule E/F: Creditors W ho H ave Unsecured Claims                                                                                                                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRI ORI T Y claims and Part 2 for creditors with NONPRI ORI T Y claims. L ist the other party to any executory
contracts or unexpired leases that could result in a claim. A lso list executory contracts on Schedule A/B: Pr operty (Official Form 106A/B) and on Schedule G: Executory Contracts
and Unexpired L eases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors W ho H ave Claims Secured by
Pr operty. I f more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. I f you have no
information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case number (if known).

 Part 1:               L ist A ll of Y our PRI ORI T Y Unsecured Claims
 1.      Do any creditors have priority unsecured claims against you?
               N o . G o to P a rt 2 .
               Y es.

 Part 2:               L ist All of Y our NONPRI ORI T Y Unsecured Claims

 3.      Do any creditors have nonpriority unsecured claims against you?
               N o . Y o u h a v e n o th in g to re p o rt in th is p a rt. S u b m it th is f o rm to th e c o u rt w ith y o u r o th e r s c h e d u le s .

               Y es.

 4.      L ist all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a c re d ito r h a s m o re th a n o n e n o n p rio rity u n s e c u re d c la im , lis t th e
         c re d ito r s e p a ra te ly f o r e a c h c la im . F o r e a c h c la im lis te d , id e n tif y w h a t ty p e o f c la im it is . D o n o t lis t c la im s a lre a d y in c lu d e d in P a rt 1 . If m o re th a n o n e c re d ito r h o ld s a p a rtic u la r c la im ,
         lis t th e o th e r c re d ito rs in P a rt 3 .If y o u h a v e m o re th a n th re e n o n p rio rity u n s e c u re d c la im s f ill o u t th e C o n tin u a tio n P a g e o f P a rt 2 .
                                                                                                                                                                                                                                                         T otal claim
 4 .1                                                                                                           L ast 4 digits of account number
                   Aspire/cb&t                                                                                                                                                   1573                                                                                         $681.00
                   N o n p rio rity C re d ito r's N a m e
                                                                                                                                                                                 Opened 02/02 Last Active
                   9 Mutec Dr                                                                                   W hen was the debt incurred?                                     7/23/09
                   Columbus, GA 31907
                   N u m b e r S tre e t C ity S ta te Z ip C o d e                                             As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                   W ho incurred the debt? C h e c k o n e .
                                                                                                                       C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                       U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                       D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                                T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                    S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                   O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                   I s the claim subject to offset?                                                             a s p rio rity c la im s

                        No                                                                                             D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                           O th e r. S p e c if y      Credit Card




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          Page 1 of 10
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                        31040                                                                         B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                          Doc 1                   Filed 02/28/19                                  Page 22 of 63
 D e b to r 1                                                                                                                                                                 C a s e n u m b e r ( if k n o w n )
                       Cathy Sue Suttles
 4 .2                                                                                                          L ast 4 digits of account number
                 At T Directv                                                                                                                                                 6668                                                                              $279.00
                 N o n p rio rity C re d ito r's N a m e
                 c/o ERC/Enhanced Recovery Corp                                                                W hen was the debt incurred?                                   Opened 4/02/18
                 Attn: Bankruptcy
                 8014 Bayberry Road
                 Jacksonville, FL 32256
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Collection


 4 .3                                                                                                          L ast 4 digits of account number
                 AT&T                                                                                                                                                         All Accounts                                                                   Unknown
                 N o n p rio rity C re d ito r's N a m e
                 PO Box 6000                                                                                   W hen was the debt incurred?
                 The Lakes, NV 89163
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Utility


 4 .4                                                                                                          L ast 4 digits of account number
                 Brylane Home                                                                                                                                                 All Accounts                                                                   Unknown
                 N o n p rio rity C re d ito r's N a m e
                 PO Box 659728                                                                                 W hen was the debt incurred?
                 San Antonio, TX 78265
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Credit Card




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            Page 2 of 10
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                        B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                          Doc 1                   Filed 02/28/19                                  Page 23 of 63
 D e b to r 1                                                                                                                                                                 C a s e n u m b e r ( if k n o w n )
                       Cathy Sue Suttles
 4 .5                                                                                                          L ast 4 digits of account number
                 Capital One                                                                                                                                                  0974                                                                           Unknown
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                                                                                             Opened 10/13/11 Last Active
                 Po Box 30285                                                                                  W hen was the debt incurred?                                   03/13
                 Salt Lake City, UT 84130
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Charge Off


 4 .6                                                                                                          L ast 4 digits of account number
                 Citibank N.A.                                                                                                                                                3077                                                                          $1,822.00
                 N o n p rio rity C re d ito r's N a m e
                 c/o Midland Funding                                                                                                                                          Opened 03/14 Last Active
                 2365 Northside Dr Ste 300                                                                     W hen was the debt incurred?                                   2/28/17
                 San Diego, CA 92108
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Collection


 4 .7                                                                                                          L ast 4 digits of account number
                 Comenity Bank/kingsize                                                                                                                                       1728                                                                              $777.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                              W hen was the debt incurred?                                   Opened 11/14 Last Active 03/17
                 Po Box 182125
                 Columbus, OH 43218
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Charge Account




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            Page 3 of 10
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                        B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                          Doc 1                   Filed 02/28/19                                  Page 24 of 63
 D e b to r 1                                                                                                                                                                 C a s e n u m b e r ( if k n o w n )
                       Cathy Sue Suttles
 4 .8                                                                                                          L ast 4 digits of account number
                 Comenity Bank/womnwt                                                                                                                                         0620                                                                          $2,118.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy Dept                                                                         W hen was the debt incurred?                                   Opened 12/09 Last Active 01/17
                 Po Box 182125
                 Columbus, OH 43218
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Charge Account


 4 .9                                                                                                          L ast 4 digits of account number
                 Comenity Capital Bank/HSN                                                                                                                                    0803                                                                          $4,492.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy Dept                                                                         W hen was the debt incurred?                                   Opened 11/10 Last Active 04/17
                 Po Box 18215
                 Columbus, OH 43218
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Charge Account


 4 .1 0                                                                                                        L ast 4 digits of account number
                 Comenitybank/fllbeauty                                                                                                                                       7179                                                                          $1,286.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy Dept                                                                         W hen was the debt incurred?                                   Opened 05/11 Last Active 01/17
                 Po Box 182125
                 Columbus, OH 43218
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Charge Account




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            Page 4 of 10
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                        B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                          Doc 1                   Filed 02/28/19                                  Page 25 of 63
 D e b to r 1                                                                                                                                                                 C a s e n u m b e r ( if k n o w n )
                       Cathy Sue Suttles
 4 .1 1                                                                                                        L ast 4 digits of account number
                 Credit One Bank                                                                                                                                              2300                                                                           Unknown
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                              W hen was the debt incurred?                                   Opened 08/07 Last Active 12/16
                 Po Box 98873
                 Las Vegas, NV 89193
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Charge Off


 4 .1 2                                                                                                        L ast 4 digits of account number
                 Credit One Bank N.A.                                                                                                                                         2300                                                                          $3,099.00
                 N o n p rio rity C re d ito r's N a m e
                 c/o LVNV Funding/Resurgent Capital                                                            W hen was the debt incurred?                                   Opened 07/17 Last Active 12/16
                 Attn: Bankruptcy
                 Po Box 10497
                 Greenville, SC 29603
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Collection


 4 .1 3                                                                                                        L ast 4 digits of account number
                 Fingerhut                                                                                                                                                    9424                                                                           Unknown
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                                                                                             Opened 11/21/12 Last Active
                 Po Box 1250                                                                                   W hen was the debt incurred?                                   07/14
                 Saint Cloud, MN 56395
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Charge Off




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            Page 5 of 10
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                        B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                          Doc 1                   Filed 02/28/19                                  Page 26 of 63
 D e b to r 1                                                                                                                                                                 C a s e n u m b e r ( if k n o w n )
                       Cathy Sue Suttles
 4 .1 4                                                                                                        L ast 4 digits of account number
                 Florida Hospital                                                                                                                                             All Accounts                                                                   Unknown
                 N o n p rio rity C re d ito r's N a m e
                 PO Box 538800                                                                                 W hen was the debt incurred?
                 Orlando, FL 32853-8800
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Medical


 4 .1 5                                                                                                        L ast 4 digits of account number
                 Inpt Conslt Of Fl                                                                                                                                            4042                                                                                $41.00
                 N o n p rio rity C re d ito r's N a m e
                 c/o Account Resolution Services                                                               W hen was the debt incurred?                                   Opened 04/17 Last Active 11/15
                 Attn: Bankruptcy
                 Po Box 459079
                 Sunrise, FL 33345
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Collection Attorney


 4 .1 6                                                                                                        L ast 4 digits of account number
                 JLR Medical Group                                                                                                                                            All Accounts                                                                   Unknown
                 N o n p rio rity C re d ito r's N a m e
                 PO Box 948075                                                                                 W hen was the debt incurred?
                 Maitland, FL 32794-8075
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Medical




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            Page 6 of 10
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                        B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                          Doc 1                   Filed 02/28/19                                  Page 27 of 63
 D e b to r 1                                                                                                                                                                 C a s e n u m b e r ( if k n o w n )
                       Cathy Sue Suttles
 4 .1 7                                                                                                        L ast 4 digits of account number
                 Kingsize                                                                                                                                                     All Accounts                                                                   Unknown
                 N o n p rio rity C re d ito r's N a m e
                                                                                                               W hen was the debt incurred?

                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Credit Card


 4 .1 8                                                                                                        L ast 4 digits of account number
                 Kohls/Capital One                                                                                                                                            4755                                                                              $546.00
                 N o n p rio rity C re d ito r's N a m e
                 Kohls Credit                                                                                  W hen was the debt incurred?                                   Opened 11/13 Last Active 04/18
                 Po Box 3120
                 Milwaukee, WI 53201
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Charge Account


 4 .1 9                                                                                                        L ast 4 digits of account number
                 Lincare                                                                                                                                                      All Accounts                                                                   Unknown
                 N o n p rio rity C re d ito r's N a m e
                 PO Box 3490                                                                                   W hen was the debt incurred?
                 Brandon, FL 33509
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Medical




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            Page 7 of 10
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                        B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                          Doc 1                   Filed 02/28/19                                  Page 28 of 63
 D e b to r 1                                                                                                                                                                 C a s e n u m b e r ( if k n o w n )
                       Cathy Sue Suttles
 4 .2 0                                                                                                        L ast 4 digits of account number
                 Stoneberry                                                                                                                                                   All Accounts                                                                   Unknown
                 N o n p rio rity C re d ito r's N a m e
                 PO Box 2820                                                                                   W hen was the debt incurred?
                 Monroe, WI 53566
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Credit Card


 4 .2 1                                                                                                        L ast 4 digits of account number
                 Synchrony Bank/ JC Penneys                                                                                                                                   1353                                                                              $810.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy Dept                                                                         W hen was the debt incurred?                                   Opened 09/11 Last Active 03/17
                 Po Box 965060
                 Orlando, FL 32896
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Charge Account


 4 .2 2                                                                                                        L ast 4 digits of account number
                 Synchrony Bank/QVC                                                                                                                                           4495                                                                           Unknown
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy Dept                                                                         W hen was the debt incurred?                                   Opened 12/99 Last Active 04/17
                 Po Box 965060
                 Orlando, FL 32896
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Charge Off




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            Page 8 of 10
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                        B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                            Doc 1                   Filed 02/28/19                                  Page 29 of 63
 D e b to r 1                                                                                                                                                                   C a s e n u m b e r ( if k n o w n )
                       Cathy Sue Suttles
 4 .2 3                                                                                                          L ast 4 digits of account number
                 Synchrony Bank/Walmart                                                                                                                                         3433                                                                           Unknown
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy Dept                                                                           W hen was the debt incurred?                                   Opened 09/14 Last Active 07/17
                 Po Box 965060
                 Orlando, FL 32896
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                                As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                      C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                      U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                      D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                                 T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                   S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                    O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                                a s p rio rity c la im s

                        No                                                                                            D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                          O th e r. S p e c if y      Charge Off


 4 .2 4                                                                                                          L ast 4 digits of account number
                 Volusia County - Evac                                                                                                                                          1927                                                                              $737.00
                 N o n p rio rity C re d ito r's N a m e
                 c/o United Collection Serv                                                                      W hen was the debt incurred?                                   Opened 07/16 Last Active 10/15
                 Attn: Bankruptcy Department
                 106 Commerce St., Suite 106
                 Lake Mary, FL 32746
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                                As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                      C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                      U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                      D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                                 T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                   S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                    O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                                a s p rio rity c la im s

                        No                                                                                            D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                          O th e r. S p e c if y      Collection Attorney


 4 .2 5                                                                                                          L ast 4 digits of account number
                 Women Within                                                                                                                                                   All Accounts                                                                   Unknown
                 N o n p rio rity C re d ito r's N a m e
                 PO Box 659728                                                                                   W hen was the debt incurred?
                 San Antonio, TX 78265
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                                As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                      C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                      U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                      D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                                 T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                   S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                    O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                                a s p rio rity c la im s

                        No                                                                                            D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                          O th e r. S p e c if y      Credit Card

 Part 3:               L ist Others to Be Notified A bout a Debt T hat Y ou A lready L isted

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is trying to collect
   from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of
   the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit
   this page.
 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?


O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              Page 9 of 10
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                          B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                             Doc 1               Filed 02/28/19                                Page 30 of 63
 D e b to r 1                                                                                                                                                              C a s e n u m b e r ( if k n o w n )
                       Cathy Sue Suttles

 Cooling & Winter LLC                                                                                   L in e   4.5 o f ( Check one):                                    P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 7901 SW 6th Court                                                                                                                                                        P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Suite 310
 Fort Lauderdale, FL 33324
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Frederick J. Hanna & Assoc.                                                                            L in e   4.6 o f ( Check one):                                    P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 7901 SW 6th Court                                                                                                                                                        P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Suite 310
 Fort Lauderdale, FL 33324
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Jefferson Capital                                                                                      L in e   4.13 o f ( Check one):                                   P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 16 McLeland Road                                                                                                                                                         P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Saint Cloud, MN 56303-2198
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Rausch Sturm Israel Enerson & Hornik                                                                   L in e   4.13 o f ( Check one):                                   P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 LLC                                                                                                                                                                      P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 5801 Ulmerton Rd
 Suite 201
 Clearwater, FL 33760-3951
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Webbank                                                                                                L in e   4.13 o f ( Check one):                                   P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 P215 S. State St                                                                                                                                                         P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Suite 1000
 Salt Lake City, UT 84111
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r



 Part 4:               A dd the A mounts for Each T ype of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type of unsecured
   claim.

                                                                                                                                                                                                           T otal Claim
                                      6a.       Domestic support obligations                                                                                                6a.             $
                                                                                                                                                                                                                                      0.00
   T otal claims
   from Part 1                        6b.       T axes and certain other debts you owe the government                                                                       6b.             $
                                                                                                                                                                                                                                      0.00
                                      6c.       Claims for death or personal injury while you were intoxicated                                                              6c.             $
                                                                                                                                                                                                                                      0.00
                                      6d.       Other. A d d a ll o th e r p rio rity u n s e c u re d c la im s . W rite th a t a m o u n t h e re .                       6d.             $
                                                                                                                                                                                                                                      0.00

                                      6e.       T otal Priority. A d d lin e s 6 a th ro u g h 6 d .                                                                        6e.             $
                                                                                                                                                                                                                                      0.00

                                                                                                                                                                                                           T otal Claim
                                      6f.       Student loans                                                                                                               6f.             $
                                                                                                                                                                                                                                      0.00
   T otal claims
   from Part 2                        6g.       Obligations arising out of a separation agreement or divorce that you did
                                                not report as priority claims
                                                                                                                                                                            6g.             $                                   0.00
                                      6h.       Debts to pension or profit-sharing plans, and other similar debts                                                           6h.             $
                                                                                                                                                                                                                                0.00
                                      6 i.      Other. A d d a ll o th e r n o n p rio rity u n s e c u re d c la im s . W rite th a t a m o u n t h e re .                 6 i.            $
                                                                                                                                                                                                                           16,688.00

                                      6 j.      T otal Nonpriority. A d d lin e s 6 f th ro u g h 6 i.                                                                      6 j.            $
                                                                                                                                                                                                                           16,688.00




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               Page 10 of 10
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                           B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                             Doc 1        Filed 02/28/19             Page 31 of 63
 Fill in this information to identify your case:

 D e b to r 1
                                          Cathy Sue Suttles
                                          F irs t N a m e                                           M id d le N a m e                          La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                           M id d le N a m e                          La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                               M ID D L E D IS T R IC T O F F L O R ID A


 C a s e num be r
 (if k n o w n )                                                                                                                                                                                   C h e c k if th is is a n
                                                                                                                                                                                                   a m e n d e d filin g



O ffic ia l F o rm 1 0 6 G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                                                        12/15

Be as complete and accurate as possible. I f two married people are filing together, both are equally responsible for supplying correct information. I f more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

1.          Do you have any executory contracts or unexpired leases?
              N o . C h e c k th is b o x a n d f ile th is f o rm w ith th e c o u rt w ith y o u r o th e r s c h e d u le s . Y o u h a v e n o th in g e ls e to re p o rt o n th is f o rm .
              Y e s . F ill in a ll o f th e in f o rm a tio n b e lo w e v e n if th e c o n ta c ts o f le a s e s a re lis te d o n Schedule A/B:Property (O f f ic ia l F o rm 1 0 6 A /B ).

2.          L ist separately each person or company with whom you have the contract or lease. T hen state what each contract or lease is for (for example, rent,
            vehicle lease, cell phone). S e e th e in s tru c tio n s f o r th is f o rm in th e in s tru c tio n b o o k l e t f o r m o re e x a m p le s o f e x e c u to ry c o n tra c ts a n d u n e x p ire d le a s e s .


                   Person or company with whom you have the contract or lease                                                                      State what the contract or lease is for
                                              N a m e , N u m b e r, S tre e t, C ity , S ta te a n d Z IP C o d e
     2 .1
               Na m e


               Num be r               S tre e t


               C ity                                                                 S ta te                            Z IP C o d e
     2 .2
               Na m e


               Num be r               S tre e t


               C ity                                                                 S ta te                            Z IP C o d e
     2 .3
               Na m e


               Num be r               S tre e t


               C ity                                                                 S ta te                            Z IP C o d e
     2 .4
               Na m e


               Num be r               S tre e t


               C ity                                                                 S ta te                            Z IP C o d e




O ffic ia l F o rm 1 0 6 G                                                        Schedule G: Executory Contracts and Unexpired Leases                                                                                      Page           of
                                                                                                                                                                                                                                       1        2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                     B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                          Doc 1   Filed 02/28/19                Page 32 of 63
 D e b to r 1                                                                                                                                             C ase num ber
                           Cathy Sue Suttles                                                                                                                              ( if known)




                    Additional Page if Y ou H ave M ore Contracts or L eases

                   Person or company with whom you have the contract or lease                                                               State what the contract or lease is for
                                              N a m e , N u m b e r, S tre e t, C ity , S ta te a n d Z IP C o d e
    2 .5
               Na m e


               Num be r               S tre e t


               C ity                                                                 S ta te                         Z IP C o d e




O ffic ia l F o rm 1 0 6 G                                                        Schedule G: Executory Contracts and Unexpired Leases                                                               Page           of
                                                                                                                                                                                                                2        2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                              B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                 Doc 1              Filed 02/28/19                     Page 33 of 63
 Fill in this information to identify your case:

 D e b to r 1
                                           Cathy Sue Suttles
                                           F irs t N a m e                                             M id d le N a m e              La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )                F irs t N a m e                                             M id d le N a m e              La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                                  M ID D L E D IS T R IC T O F F L O R ID A


 C a s e num be r
 (if k n o w n )                                                                                                                                                                                     C h e c k if th is is a n
                                                                                                                                                                                                     a m e n d e d filin g


O f f ic ia l F o rm 1 0 6 H
Schedule H : Y our Codebtors                                                                                                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. I f two married people are filing
together, both are equally responsible for supplying correct information. I f more space is needed, copy the A dditional Page, fill it out, and number the entries
in the boxes on the left. Attach the A dditional Page to this page. On the top of any A dditional Pages, write your name and case number (if known). Answer
every question.

          1. Do you have any codebtors? (If y o u a re f ilin g a j o in t c a s e , d o n o t lis t e ith e r s p o u s e a s a c o d e b to r.

               No
               Y es

          2. W ithin the last 8 years, have you lived in a community property state or territory? ( Community property states and territories in c lu d e A riz o n a ,
          C a lif o rn ia , Id a h o , L o u is ia n a , N e v a d a , N e w M e x ic o , P u e rto R ic o , T e x a s , W a s h in g to n , a n d W is c o n s in .)

               N o . G o to lin e 3 .
               Y e s . D id y o u r s p o u s e , f o rm e r s p o u s e , o r le g a l e q u iv a le n t liv e w ith y o u a t th e tim e ?


     3. I n Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. L ist the person shown in line 2 again as
        a codebtor only if that person is a guarantor or cosigner. M ake sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F
        (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

                      Column 1: Y our codebtor                                                                                                                    Column 2: T he creditor to whom you owe the debt
                      N a m e , N u m b e r, S tre e t, C ity , S ta te a n d Z IP C o d e                                                                        C h e c k a l l s c h e d u le s th a t a p p ly :

      3 .1                                                                                                                                                             S c h e d u le D , lin e
                       N am e
                                                                                                                                                                       S c h e d u le E /F , lin e
                                                                                                                                                                       S c h e d u le G , lin e
                       N um ber                       S tre e t
                       C ity                                                                 S ta te                                     Z IP C o d e




      3 .2                                                                                                                                                             S c h e d u le D , lin e
                       N am e
                                                                                                                                                                       S c h e d u le E /F , lin e
                                                                                                                                                                       S c h e d u le G , lin e
                       N um ber                       S tre e t
                       C ity                                                                 S ta te                                     Z IP C o d e




O f f ic ia l F o rm 1 0 6 H                                                                                                  S c h e d u le H : Y o u r C o d e b to rs                                                    Page 1 of 1
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                      B e s t C a s e B a n k ru p tc y
                                           Case 6:19-bk-01285-CCJ                                   Doc 1               Filed 02/28/19                      Page 34 of 63



 F ill in th is in fo rm a tio n to id e n tify y o u r c a s e :

 D e b to r 1
                                          Cathy Sue Suttles
 D e b to r 2
 (S p o u s e , if filin g )


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :     M ID D L E D IS T R IC T O F F L O R ID A

 C a s e num be r                                                                                                                                      C h e c k if th is is :
 (If k n o w n )                                                                                                                                            A n a m e n d e d filin g
                                                                                                                                                             A s u p p le m e n t s h o w in g p o s tp e titio n c h a p te r
                                                                                                                                                             1 3 in c o m e a s o f th e fo llo w in g d a te :
 O ffic ia l F o rm 1 0 6 I                                                                                                                                  MM / DD/ YYYY

 Schedule I: Your Income                                                                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying
correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated
and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the
top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:                       Describe Employment

 1.         Fill in your employment
            information.                                                                          Debtor 1                                                      Debtor 2 or non-filing spouse

            If y o u h a v e m o re th a n o n e jo b ,                                                E m p lo y e d                                                E m p lo y e d
                                                               Employment status
            a tta c h a s e p a ra te p a g e w ith                                                    N o t e m p lo y e d                                          N o t e m p lo y e d
            in fo rm a tio n a b o u t a d d itio n a l
            e m p lo y e rs .
                                                               Occupation                         Disabled
            In c lu d e p a rt- tim e , s e a s o n a l, o r
                                                               Employer's name
            s e lf- e m p lo y e d w o rk .

            O c c u p a tio n m a y in c lu d e s tu d e n t   Employer's address
            o r h o m e m a k e r, if it a p p lie s .


                                                               How long employed there?

 Part 2:                       Give Details About Monthly Income


Estimate monthly income as of the date you file this form. If y o u h a v e n o th in g to re p o rt fo r a n y lin e , w rite $ 0 in th e s p a c e . In c lu d e y o u r n o n - filin g s p o u s e
u n le s s y o u a re s e p a ra te d .

If y o u o r y o u r n o n - filin g s p o u s e h a v e m o re th a n o n e e m p lo y e r, c o m b in e th e in fo rm a tio n fo r a ll e m p lo y e rs fo r th a t p e rs o n o n th e lin e s b e lo w . If y o u n e e d
m o re s p a c e , a tta c h a s e p a ra te s h e e t to th is fo rm .


                                                                                                                                                   For Debtor 1                   For Debtor 2 or
                                                                                                                                                                                  non-filing spouse


            List monthly gross wages, salary, and commissions (b e fo re a ll p a y ro ll d e d u c tio n s ).
 2.                                                                                                                                   2.       $                                  $
            If n o t p a id m o n th ly , c a lc u la te w h a t th e m o n th ly w a g e w o u ld b e .                                                            0.00                                  N/A

 3.         Estimate and list monthly overtime pay.                                                                                   3.     +$                                   +$
                                                                                                                                                                    0.00                                  N/A

 4.                                                                                                                                   4.       $                                       $
            Calculate gross Income. A d d lin e 2 + lin e 3 .                                                                                                   0.00                                  N/A


Official Form 106I                                                                                       Schedule I: Your Income                                                                                      page 1
                                      Case 6:19-bk-01285-CCJ                                            Doc 1               Filed 02/28/19                      Page 35 of 63

D e b to r 1                                                                                                                                        Ca s e num be r (              )
               Cathy Sue Suttles                                                                                                                                        if known




                                                                                                                                                        For Debtor 1                   For Debtor 2 or
                                                                                                                                                                                       non-filing spouse
        Copy line 4 here                                                                                                                   4.           $                              $
                                                                                                                                                                          0.00                           N/A

5.      List all payroll deductions:
        5a.      Tax, Medicare, and Social Security deductions                                                                             5a.          $                              $
                                                                                                                                                                          0.00                           N/A
        5b.      Mandatory contributions for retirement plans                                                                              5b.          $                              $
                                                                                                                                                                          0.00                           N/A
        5c.      Voluntary contributions for retirement plans                                                                              5c.          $                              $
                                                                                                                                                                          0.00                           N/A
        5d.      Required repayments of retirement fund loans                                                                              5d.          $                              $
                                                                                                                                                                          0.00                           N/A
        5e.      Insurance                                                                                                                 5e.          $                              $
                                                                                                                                                                          0.00                           N/A
        5 f.     Domestic support obligations                                                                                              5 f.         $                              $
                                                                                                                                                                          0.00                           N/A
        5g.      Union dues                                                                                                                5g.          $                              $
                                                                                                                                                                          0.00                           N/A
        5h.                                                                                                                                5 h .+       $
                 Other deductions. S p e c ify :                                                                                                                          0.00 +       $
                                                                                                                                                                                                         N/A
6.                                                                                                                                         6.           $                              $
        Add the payroll deductions. A d d lin e s 5 a + 5 b + 5 c + 5 d + 5 e + 5 f+ 5 g + 5 h .                                                                          0.00                           N/A
7.                                                                                                                                         7.           $                              $
        Calculate total monthly take-home pay. S u b tra c t lin e 6 fro m lin e 4 .                                                                                      0.00                           N/A
8.      List all other income regularly received:
        8a.     Net income from rental property and from operating a business,
                 profession, or farm
                 A tta c h a s ta te m e n t fo r e a c h p ro p e rty a n d b u s in e s s s h o w in g g ro s s
                 re c e ip ts , o rd in a ry a n d n e c e s s a ry b u s in e s s e x p e n s e s , a n d th e to ta l
                 m o n th ly n e t in c o m e .                                                                                            8a.          $                              $
                                                                                                                                                                          0.00                           N/A
        8b.      Interest and dividends                                                                                                    8b.          $                              $
                                                                                                                                                                          0.00                           N/A
        8c.      Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 In c lu d e a lim o n y , s p o u s a l s u p p o rt, c h ild s u p p o rt, m a in te n a n c e , d iv o rc e
                 s e ttle m e n t, a n d p ro p e rty s e ttle m e n t.                                                                    8c.          $                              $
                                                                                                                                                                     0.00                                N/A
        8d.      Unemployment compensation                                                                                                 8d.          $                              $
                                                                                                                                                                     0.00                                N/A
        8e.      Social Security                                                                                                           8e.          $                              $
                                                                                                                                                                 1,495.41                                N/A
        8 f.     Other government assistance that you regularly receive
                 In c lu d e c a s h a s s is ta n c e a n d th e v a lu e (if k n o w n ) o f a n y n o n - c a s h a s s is ta n c e
                 th a t y o u re c e iv e , s u c h a s fo o d s ta m p s (b e n e fits u n d e r th e S u p p le m e n ta l
                 N u tritio n A s s is ta n c e P ro g ra m ) o r h o u s in g s u b s id ie s .
                 S p e c ify :                                                                                                             8 f.         $                        $
                                                                                                                                                                          0.00                           N/A
        8g.      Pension or retirement income                                                                                              8g.          $                        $
                                                                                                                                                                          0.00                           N/A
        8h.                                                                                                                                8 h .+       $                      + $
                 Other monthly income. S p e c ify :                                                                                                                      0.00                           N/A

9.                                                                                                                                         9.       $                                  $
        Add all other income. A d d lin e s 8 a + 8 b + 8 c + 8 d + 8 e + 8 f+ 8 g + 8 h .                                                                       1,495.41                                  N/A

10.                                                                                                                                      10. $
        Calculate monthly income. A d d lin e 7 + lin e 9 .                                                                                                 1,495.41 + $                      N/A = $            1,495.41
        A d d th e e n trie s in lin e 1 0 fo r D e b to r 1 a n d D e b to r 2 o r n o n - filin g s p o u s e .

1 1 . State all other regular contributions to the expenses that you list in
                                                                                                       Schedule J.
      In c lu d e c o n trib u tio n s fro m a n u n m a rrie d p a rtn e r, m e m b e rs o f y o u r h o u s e h o ld , y o u r d e p e n d e n ts , y o u r ro o m m a te s , a n d
      o th e r frie n d s o r re la tiv e s .
      D o n o t in c lu d e a n y a m o u n ts a lre a d y in c lu d e d in lin e s 2 - 1 0 o r a m o u n ts th a t a re n o t a v a ila b le to p a y e x p e n s e s lis te d in              .
                                                                                                                                                                                      Schedule J
      S p e c ify :                                                                                                                                                                       11.
                                                                                                                                                                                               +$                    0.00

12.
        Add the amount in the last column of line 10 to the amount in line 11. T h e re s u lt is th e c o m b in e d m o n th ly in c o m e .
        W rite th a t a m o u n t o n th e                      a nd                                                        a n d R e la te d
                                           Summary of Schedules      Statistical Summary of Certain Liabilities                                Data,                                          12.   $
        if it a p p lie s                                                                                                                                                                                        1,495.41

                                                                                                                                                                                                    Combined
                                                                                                                                                                                                    monthly income


Official Form 106I                                                                                            Schedule I: Your Income                                                                             page 2
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D e b to r 1                                                                                      Ca s e num be r (              )
               Cathy Sue Suttles                                                                                      if known

1 3 . Do you expect an increase or decrease within the year after you file this form?
             No.
                 Y e s . E x p la in :




Official Form 106I                                                      Schedule I: Your Income                                      page 3
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 F ill in th is in fo rm a tio n to id e n tify y o u r c a s e :

 D e b to r 1                                                                                                                                                   C h e c k if th is is :
                                    Cathy Sue Suttles
                                                                                                                                                                        A n a m e n d e d filin g
 D e b to r 2                                                                                                                                                           A s u p p le m e n t s h o w in g p o s tp e titio n c h a p te r
 (S p o u s e , if filin g )                                                                                                                                            1 3 e x p e n s e s a s o f th e fo llo w in g d a te :


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :   M ID D L E D IS T R IC T O F F L O R ID A                                                                MM / DD / YYYY

 Ca s e num be r
 (If k n o w n )




 O ffic ia l F o rm 1 0 6 J
 Schedule J: Your Expenses                                                                                                                                                                                                          12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.

 P a rt 1 :           Describe Your Household
 1.       Is this a joint case?
                N o . G o to lin e 2 .
                Y e s . Does Debtor 2 live in a separate household?

                               No
                               Y e s . D e b to r 2 m u s t file O ffic ia l F o rm 1 0 6 J - 2 ,                                                               o f D e b to r 2 .
                                                                                                             Expenses for Separate Household

 2.       Do you have dependents?                                No

          D o n o t lis t D e b to r 1 a n d                     Yes.      F ill o u t th is in fo rm a tio n fo r                Dependent’s relationship to                Dependent’s                  Does dependent
          D e b to r 2 .                                                   e a c h d e p e n d e n t. . . . . . . . . . . . . .   Debtor 1 or Debtor 2                       age                          live with you?

          D o n o t s ta te th e                                                                                                                                                                               No
          d e p e n d e n ts n a m e s .                                                                                                                                                                       Yes
                                                                                                                                                                                                               No
                                                                                                                                                                                                               Yes
                                                                                                                                                                                                               No
                                                                                                                                                                                                               Yes
                                                                                                                                                                                                               No
                                                                                                                                                                                                               Yes
 3.       Do your expenses include                                        No
          expenses of people other than                                   Yes
          yourself and your dependents?

 P a rt 2 :           Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of
 a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value
 of such assistance and have included it on Schedule I: Your Income (Official
 Form 106I.)                                                                                                                                                                          Your expenses


 4.
          The rental or home ownership expenses for your residence. In c lu d e firs t m o rtg a g e
                                                                                                                                                                4. $
          p a y m e n ts a n d a n y re n t fo r th e g ro u n d o r lo t.                                                                                                                                           0.00

O ffic ia l F o rm 1 0 6 J                                                                                  Schedule J: Your Expenses                                                                                              pa ge 1
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 D e b to r 1                                                                                                         C a s e n u m b e r (if k n o w n )
                  Cathy Sue Suttles


        If not included in line 4:

        4a.       R e a l e s ta te ta x e s                                                                                  4a.      $
                                                                                                                                                            58.34
        4b.       P ro p e rty , h o m e o w n e r’s , o r re n te r’s in s u ra n c e                                        4b.      $
                                                                                                                                                            92.67
        4c.       H o m e m a in te n a n c e , re p a ir, a n d u p k e e p e x p e n s e s                                  4c.      $
                                                                                                                                                             0.00
        4d.       H o m e o w n e r’s a s s o c ia tio n o r c o n d o m in iu m d u e s                                      4d.      $
                                                                                                                                                             0.00
 5.                                                                                                                            5.      $
        Additional mortgage payments for your residence, s u c h a s h o m e e q u ity lo a n s                                                              0.00




O ffic ia l F o rm 1 0 6 J                                                                Schedule J: Your Expenses                                                 pa ge 2
                                      Case 6:19-bk-01285-CCJ                                                  Doc 1                Filed 02/28/19                               Page 39 of 63

 D e b to r 1                                                                                                                                              C a s e n u m b e r (if k n o w n )
                   Cathy Sue Suttles

 6.     Utilities:
        6a.     E le c tric ity , h e a t, n a tu ra l g a s                                                                                                        6a.     $
                                                                                                                                                                                                                             225.00
        6b.     W a te r, s e w e r, g a rb a g e c o lle c tio n                                                                                                   6b.     $
                                                                                                                                                                                                                             220.00
        6c.     T e le p h o n e , c e ll p h o n e , In te rn e t, s a te llite , a n d c a b le s e rv ic e s                                                     6c.     $
                                                                                                                                                                                                                             250.00
        6d.     O th e r. S p e c ify :                                                                                                                             6d.     $
                                                                                                                                                                                                                               0.00
 7.     Food and housekeeping supplies                                                                                                                               7.     $
                                                                                                                                                                                                                             200.00
 8.     Childcare and children’s education costs                                                                                                                      8. $
                                                                                                                                                                                                                               0.00
 9.    Clothing, laundry, and dry cleaning                                                                                                                            9. $
                                                                                                                                                                                                                              30.00
 1 0 . Personal care products and services                                                                                                                          10. $
                                                                                                                                                                                                                              15.00
 1 1 . Medical and dental expenses                                                                                                                                  11. $
                                                                                                                                                                                                                              85.00
 12.
        Transportation. In c lu d e g a s , m a in te n a n c e , b u s o r tra in fa re .
                                                                                                                                                                    12. $
        D o n o t in c lu d e c a r p a y m e n ts .                                                                                                                                                                         150.00
 1 3 . Entertainment, clubs, recreation, newspapers, magazines, and books                                                                                           13. $
                                                                                                                                                                                                                               0.00
 1 4 . Charitable contributions and religious donations                                                                                                             14. $
                                                                                                                                                                                                                               0.00
 1 5 . Insurance.
       D o n o t in c lu d e in s u ra n c e d e d u c te d fro m y o u r p a y o r in c lu d e d in lin e s 4 o r 2 0 .
       1 5 a . L ife in s u ra n c e                                                                                                                              15a.      $
                                                                                                                                                                                                                               0.00
       1 5 b . H e a lth in s u ra n c e                                                                                                                          15b.      $
                                                                                                                                                                                                                               0.00
       1 5 c . V e h ic le in s u ra n c e                                                                                                                        15c.      $
                                                                                                                                                                                                                             150.00
       1 5 d . O th e r in s u ra n c e . S p e c ify :                                                                                                           15d.      $
                                                                                                                                                                                                                               0.00
 16.
       Taxes. D o n o t in c lu d e ta x e s d e d u c te d fro m y o u r p a y o r in c lu d e d in lin e s 4 o r 2 0 .
       S p e c ify :                                                                                                                                                16. $
                                                                                                                                                                                                                                  0.00
 1 7 . Installment or lease payments:
        17a.       C a r p a y m e n ts fo r V e h ic le 1                                                                                                        17a.      $
                                                                                                                                                                                                                                  0.00
        17b.       C a r p a y m e n ts fo r V e h ic le 2                                                                                                        17b.      $
                                                                                                                                                                                                                                  0.00
        17c.       O th e r. S p e c ify :                                                                                                                        17c.      $
                                                                                                                                                                                                                                  0.00
        17d.       O th e r. S p e c ify :                                                                                                                        17d.      $
                                                                                                                                                                                                                                  0.00
 1 8 . Your payments of alimony, maintenance, and support that you did not report as deducted
                                                                                                     18. $
       from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                                                                                                                     0.00
 1 9 . Other payments you make to support others who do not live with you.                               $
                                                                                                                                                                                                                                  0.00
       S p e c ify :                                                                                 19.
 2 0 . Other real property expenses not included in lines 4 or 5 of this form or on
                                                                                      Schedule I: Your Income.
       2 0 a . M o rtg a g e s o n o th e r p ro p e rty                                            20a. $
                                                                                                                                                                                                                                  0.00
       2 0 b . R e a l e s ta te ta x e s                                                           20b. $
                                                                                                                                                                                                                                  0.00
       2 0 c . P ro p e rty , h o m e o w n e r’s , o r re n te r’s in s u ra n c e                 20c. $
                                                                                                                                                                                                                                  0.00
       2 0 d . M a in te n a n c e , re p a ir, a n d u p k e e p e x p e n s e s                   20d. $
                                                                                                                                                                                                                                  0.00
       2 0 e . H o m e o w n e r’s a s s o c ia tio n o r c o n d o m in iu m d u e s               20e. $
                                                                                                                                                                                                                                  0.00
 21.              S  p e c ify :                                                                     21. +$
       Other:                                                                                                                                                                                                                     0.00
 2 2 . Calculate your monthly expenses
       2 2 a . A d d lin e s 4 th ro u g h 2 1 .                                                                                                                                $
                                                                                                                                                                                                                      1,476.01
        2 2 b . C o p y lin e 2 2 (m o n th ly e x p e n s e s fo r D e b to r 2 ), if a n y , fro m O ffic ia l F o rm 1 0 6 J - 2                                             $
        2 2 c . A d d lin e 2 2 a a n d 2 2 b . T h e re s u lt is y o u r m o n th ly e x p e n s e s .                                                                        $
                                                                                                                                                                                                                      1,476.01
 2 3 . Calculate your monthly net income.
       2 3 a . C o p y lin e 1 2                                                         fro m S c h e d u le I.                                                  23a. $
                                  (your combined monthly income)                                                                                                                                                          1,495.41
       2 3 b . C o p y y o u r m o n th ly e x p e n s e s fro m lin e 2 2 c a b o v e .                                                                          2 3 b . -$
                                                                                                                                                                                                                          1,476.01

        23c.       S u b tra c t y o u r m o n th ly e x p e n s e s fro m y o u r m o n th ly in c o m e .
                                                                                                                                                                  23c. $
                   T h e re s u lt is y o u r
                                              monthly net income
                                                                              .                                                                                                                                                 19.40

 2 4 . Do you expect an increase or decrease in your expenses within the year after you file this form?
        F o r e x a m p le , d o y o u e x p e c t to fin is h p a y in g fo r y o u r c a r lo a n w ith in th e y e a r o r d o y o u e x p e c t y o u r m o rtg a g e p a y m e n t to in c re a s e o r d e c re a s e b e c a u s e o f a
        m o d ific a tio n to th e te rm s o f y o u r m o rtg a g e ?
                No.
                Yes.                  E x p la in h e re :


O ffic ia l F o rm 1 0 6 J                                                                           Schedule J: Your Expenses                                                                                                                    pa ge 3
                                                    Case 6:19-bk-01285-CCJ                                              Doc 1         Filed 02/28/19                       Page 40 of 63




 Fill in this information to identify your case:

 D e b to r 1
                                          Cathy Sue Suttles
                                          F irs t N a m e                                          M id d le N a m e             La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                          M id d le N a m e             La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt f o r th e :                             M ID D L E D IS T R IC T O F F L O R ID A

 C ase num ber
 (if k n o w n )                                                                                                                                                                                        C h e c k if th is is a n
                                                                                                                                                                                                        a m e n d e d f ilin g




O f f ic i a l F o rm 1 0 6 D e c
Declaration A bout an I ndividual Debtor's Schedules                                                                                                                                                               12/15


I f two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. M aking a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                              Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                      No

                      Y e s . N a m e o f p e rs o n                                                                                                                     A tta c h
                                                                                                                                                                                     Bankruptcy Petition Preparer s Notice,
                                                                                                                                                                                                        (O ffic ia l F o rm 1 1 9 )
                                                                                                                                                                         Declaration, and Signature


          Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
          that they are true and correct.

            X /s/ Cathy Sue Suttles                                                                                              X
                                                                                                                                       S ig n a tu re o f D e b to r 2
                   Cathy Sue Suttles
                   S ig n a tu re o f D e b to r 1

                   D a te                                                                                                              D a te
                                  February 28, 2019




O f f ic ia l F o rm 1 0 6 D e c                                                                       Declaration A bout an I ndividual Debtor's Schedules
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                          B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                Doc 1           Filed 02/28/19                   Page 41 of 63



 Fill in this information to identify your case:

 D e b to r 1
                                          Cathy Sue Suttles
                                          F irs t N a m e                                          M id d le N a m e                La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                          M id d le N a m e                La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                              M ID D L E D IS T R IC T O F F L O R ID A


 C a s e num be r
 (if k n o w n )                                                                                                                                                                                      C h e c k if th is is a n
                                                                                                                                                                                                      a m e n d e d filin g



O f f ic ia l F o rm 1 0 7
Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                                                                                                                                      4/16
Be as complete and accurate as possible. I f two married people are filing together, both are equally responsible for supplying correct information. I f more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). A nswer every question.

 Part 1:               Give Details About Y our M arital Status and W here Y ou L ived Before

1.        W hat is your current marital status?

                    M a rrie d
                    N o t m a rrie d

2.        During the last 3 years, have you lived anywhere other than where you live now?

                    No
                    Y e s . L is t a ll o f th e p la c e s y o u liv e d in th e la s t 3 y e a rs . D o n o t in c lu d e w h e re y o u liv e n o w .

            Debtor 1 Prior Address:                                                                        Dates Debtor 1 lived         Debtor 2 Prior Address:                                            Dates Debtor 2
                                                                                                           there
                                                                                                                                                                                                           lived there

3. W ithin the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? ( Community property states and
territories in c l u d e A riz o n a , C a lif o rn ia , Id a h o , L o u is ia n a , N e v a d a , N e w M e x i c o , P u e rto R ic o , T e x a s , W a s h in g to n a n d W is c o n s in .)

                    No
                    Y e s . M a k e s u re y o u f ill o u t Schedule H: Your Codebtors (O f f ic ia l F o rm 1 0 6 H ).


 Part 2                Explain the Sources of Y our I ncome


4.        Did you have any income from employment or from operating a business during this year or the two previous calendar years?
          F ill in th e to ta l a m o u n t o f in c o m e y o u re c e iv e d f ro m a ll j o b s a n d a ll b u s in e s s e s , in c lu d in g p a rt- tim e a c tiv itie s .
          If y o u a re f ilin g a j o in t c a s e a n d y o u h a v e in c o m e th a t y o u re c e iv e to g e th e r, lis t it o n ly o n c e u n d e r D e b to r 1 .

                    No
                    Y e s . F ill in th e d e ta ils .

                                                                                    Debtor 1                                                                       Debtor 2

                                                                                    Sources of income                         Gross income                         Sources of income                        Gross income
                                                                                    C h e c k a ll th a t a p p ly .          (b e fo re d e d u c tio n s a n d   C h e c k a ll th a t a p p ly .         (b e fo re d e d u c tio n s
                                                                                                                              e x c lu s io n s )                                                           a n d e x c lu s io n s )




O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                                      page 1

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                       B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                 Doc 1                Filed 02/28/19                            Page 42 of 63
 D e b to r 1                                                                                                                                                         C ase num ber
                        Cathy Sue Suttles                                                                                                                                                  ( if known)




5.        Did you receive any other income during this year or the two previous calendar years?
          In c l u d e in c o m e re g a rd le s s o f w h e th e r th a t in c o m e is ta x a b le . E x a m p le s o f other income a re a lim o n y ; c h ild s u p p o rt; S o c ia l S e c u rity , u n e m p lo y m e n t, a n d o th e r
          p u b lic b e n e f it p a y m e n ts ; p e n s io n s ; re n ta l in c o m e ; in te re s t; d i v id e n d s ; m o n e y c o lle c te d f ro m la w s u i ts ; ro y a ltie s ; a n d g a m b lin g a n d lo tte ry w in n in g s . If y o u a re
          f ilin g a j o in t c a s e a n d y o u h a v e in c o m e th a t y o u re c e iv e d to g e th e r, lis t it o n ly o n c e u n d e r D e b to r 1 .

          L is t e a c h s o u rc e a n d th e g ro s s in c o m e f ro m e a c h s o u rc e s e p a ra te ly . D o n o t in c lu d e in c o m e th a t y o u lis te d in lin e 4 .

                    No
                    Y e s . F ill in th e d e ta ils .

                                                                                    Debtor 1                                                                                     Debtor 2
                                                                                    Sources of income                             Gross income from                              Sources of income                                  Gross income
                                                                                    D e s c rib e b e lo w .                      each source                                    D e s c rib e b e lo w .                           (b e fo re d e d u c tio n s
                                                                                                                                  (b e fo re d e d u c tio n s a n d                                                                a n d e x c lu s io n s )
                                                                                                                                  e x c lu s io n s )

 From January 1 of current year until                                               Social Security Benefits                                            $2,990.82
 the date you filed for bankruptcy:

 For last calendar year:                                                            Social Security Benefits                                         $17,944.92
 (January 1 to December 31, 2018 )

 For the calendar year before that:                                                 Social Security Benefits                                         $17,944.92
 (January 1 to December 31, 2017 )


 Part 3:               L ist Certain Payments Y ou M ade Before Y ou Filed for Bankruptcy

6.        A re either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
                N o . Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts a re d e f in e d in 1 1 U .S .C . § 1 0 1 (8 ) a s “ in c u rre d b y a n in d iv id u a l
                       p rim a rily f o r a p e rs o n a l, f a m ily , o r h o u s e h o ld p u rp o s e .”

                                 D u rin g th e 9 0 d a y s b e f o re y o u f ile d f o r b a n k ru p tc y , d id y o u p a y a n y c re d ito r a to ta l o f $ 6 ,4 2 5 * o r m o re ?
                                          No.             G o to lin e 7 .
                                          Y es        L is t b e lo w e a c h c re d ito r to w h o m y o u p a id a to ta l o f $ 6 ,4 2 5 * o r m o re in o n e o r m o re p a y m e n ts a n d th e to ta l a m o u n t y o u p a id th a t
                                                      c re d ito r. D o n o t in c l u d e p a y m e n ts f o r d o m e s tic s u p p o rt o b lig a tio n s , s u c h a s c h ild s u p p o rt a n d a lim o n y . A ls o , d o n o t in c l u d e p a y m e n ts
                                                      to a n a tto rn e y f o r th is b a n k ru p tc y c a s e .
                                   * S u b j e c t to a d j u s tm e n t o n 4 /0 1 /1 9 a n d e v e ry 3 y e a rs a f te r th a t f o r c a s e s f ile d o n o r a f te r th e d a te o f a d j u s tm e n t.

                    Y es.        Debtor 1 or Debtor 2 or both have primarily consumer debts.
                                 D u rin g th e 9 0 d a y s b e f o re y o u f ile d f o r b a n k ru p tc y , d id y o u p a y a n y c re d ito r a to ta l o f $ 6 0 0 o r m o re ?

                                          No.             G o to lin e 7 .
                                          Y es            L is t b e lo w e a c h c re d ito r to w h o m y o u p a id a to ta l o f $ 6 0 0 o r m o re a n d th e to ta l a m o u n t y o u p a id th a t c re d ito r. D o n o t in c lu d e
                                                          p a y m e n ts f o r d o m e s tic s u p p o rt o b lig a tio n s , s u c h a s c h ild s u p p o rt a n d a lim o n y . A ls o , d o n o t in c lu d e p a y m e n ts to a n a tto rn e y f o r th is
                                                          b a n k ru p tc y c a s e .



            Creditor's Name and Address                                                                    Dates of payment                       Total amount                     Amount you                 Was this payment for ...
                                                                                                                                                                paid                      still owe




O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                                                               page 2

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                               Doc 1        Filed 02/28/19                      Page 43 of 63
 D e b to r 1                                                                                                                                         C ase num ber
                        Cathy Sue Suttles                                                                                                                                 ( if known)




7.        Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
                      in c lu d e y o u r re la tiv e s ; a n y g e n e ra l p a rtn e rs ; re la tiv e s o f a n y g e n e ra l p a rtn e rs ; p a rtn e rs h ip s o f w h ic h y o u a re a g e n e ra l p a rtn e r; c o rp o ra tio n s
          Insiders
          o f w h ic h y o u a re a n o ffic e r, d ire c to r, p e rs o n in c o n tro l, o r o w n e r o f 2 0 % o r m o re o f th e ir v o tin g s e c u ritie s ; a n d a n y m a n a g in g a g e n t, in c lu d in g o n e fo r
          a b u s in e s s y o u o p e ra te a s a s o le p ro p rie to r. 1 1 U . S . C . § 1 0 1 . In c lu d e p a y m e n ts fo r d o m e s tic s u p p o rt o b lig a tio n s , s u c h a s c h ild s u p p o rt a n d
          a lim o n y .


                    No
                    Y e s . L is t a ll p a y m e n ts to a n in s id e r.

            Insider's Name and Address                                                                     Dates of payment            Total amount                Amount you                Reason for this payment
                                                                                                                                                  paid                   still owe

8.        Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
          In c lu d e p a y m e n ts o n d e b ts g u a ra n te e d o r c o s ig n e d b y a n in s id e r.


                    No
                    Y e s . L is t a ll p a y m e n ts to a n in s id e r

            Insider's Name and Address                                                                     Dates of payment            Total amount                Amount you                Reason for this payment
                                                                                                                                                  paid                   still owe           In c lu d e c re d ito r's n a m e


 Part 4:               I dentify L egal A ctions, Repossessions, and Foreclosures

9.        Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          L is t a ll s u c h m a tte rs , in c lu d in g p e rs o n a l in ju ry c a s e s , s m a ll c la im s a c tio n s , d iv o rc e s , c o lle c tio n s u its , p a te rn ity a c tio n s , s u p p o rt o r c u s to d y
          m o d ific a tio n s , a n d c o n tra c t d is p u te s .


                    No
                    Y e s . F ill in th e d e ta ils .

            Case title                                                                                     Nature of the case        Court or agency                                         Status of the case
            Case number

            Midland Funding LLC vs. Cathy                                                                  Collection                Volusia County                                                P e n d in g
            Suttles                                                                                                                  Deland, FL 32724                                              On appeal
            2015-20043-CONS                                                                                                                                                                        C o nc lud e d


            Jefferson Capital Systems LLC vs.                                                              Collection                Volusia County                                                P e n d in g
            Cathy S. Suttles                                                                                                         Deland, FL 32724                                              On appeal
            2016-11376-CODL                                                                                                                                                                        C o nc lud e d



1 0 . Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      C h e c k a ll th a t a p p ly a n d fill in th e d e ta ils b e lo w .


                    N o . G o to lin e 1 1 .
                    Y e s . F ill in th e in fo rm a tio n b e lo w .

            Creditor Name and Address                                                                      Describe the Property                                                 Date                                           Value of the
                                                                                                                                                                                                                                        property
                                                                                                           Explain what happened




O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                                            page 3

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                             B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                     Doc 1               Filed 02/28/19                           Page 44 of 63
 D e b to r 1                                                                                                                                                          C ase num ber
                        Cathy Sue Suttles                                                                                                                                                   ( if known)




11.       W ithin 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
          refuse to make a payment because you owed a debt?
               No
               Y e s . F ill in th e d e ta ils .

            Creditor Name and Address                                                                      Describe the action the creditor took                                                  Date action was                        Amount
                                                                                                                                                                                                  taken

1 2 . Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
      receiver, a custodian, or another official?

                    No
                    Yes


 Part 5:               L ist Certain Gifts and Contributions

13.       W ithin 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
               No
               Y e s . F ill in th e d e ta ils f o r e a c h g if t.

            Gifts with a total value of more than $600 per                                                      Describe the gifts                                                                Dates you gave                             Value
            person                                                                                                                                                                                the gifts


            Person to Whom You Gave the Gift and
            Address:

1 4 . Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Y e s . F ill in th e d e ta ils f o r e a c h g if t o r c o n trib u tio n .

            Gifts or contributions to charities that total more                                                 Describe what you contributed                                                     Dates you                                  Value
            than $600                                                                                                                                                                             contributed
            Charity's Name
            Address (Number, Street, City, State and ZI P Code)

 Part 6:               L ist Certain L osses

15.       W ithin 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

                    No
                    Y e s . F ill in th e d e ta ils .

            Describe the property you lost and how                                                 Describe any insurance coverage for the loss                                                   Date of your loss    Value of property
            the loss occurred                                                                      In c lu d e th e a m o u n t th a t in s u ra n c e h a s p a id . L is t p e n d in g                                                        lost
                                                                                                   in s u ra n c e c la im s o n lin e 3 3 o f
                                                                                                                                                 Schedule A/B: Property.

 Part 7:               L ist Certain Payments or T ransfers

16.       W ithin 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
          seeking bankruptcy or preparing a bankruptcy petition?
          In c l u d e a n y a tto rn e y s , b a n k ru p tc y p e titio n p re p a re rs , o r c re d it c o u n s e lin g a g e n c ie s f o r s e rv ic e s re q u ire d in y o u r b a n k ru p tc y .

                    No
                    Y e s . F ill in th e d e ta ils .

            Person Who Was Paid                                                                                 Description and value of any property                                             Date payment or     Amount of payment
            Address                                                                                             transferred                                                                       transfer was
            Email or website address                                                                                                                                                              made
            Person Who Made the Payment, if Not You

O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                                            page 4

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                             B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                    Doc 1     Filed 02/28/19                       Page 45 of 63
 D e b to r 1                                                                                                                                            C ase num ber
                        Cathy Sue Suttles                                                                                                                                     ( if known)




            Person Who Was Paid                                                                                 Description and value of any property                               Date payment or                     Amount of payment
            Address                                                                                             transferred                                                         transfer was
            Email or website address                                                                                                                                                made
            Person Who Made the Payment, if Not You

            Sheryl S Zust PA                                                                                    Attorney Fees- $1400                                                April 2018                                         $1,400.00
            4649 Clyde Morris Blvd.                                                                             Filing Fee- $335
            Suite 610                                                                                           Credit Report- $40
            Port Orange, FL 32129                                                                               Credit Briefing- $25


17.       W ithin 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help
          you deal with your creditors or to make payments to your creditors?
          D o n o t in c lu d e a n y p a y m e n t o r tra n s f e r th a t y o u lis te d o n lin e 1 6 .

                    No
                    Y e s . F ill in th e d e ta ils .

            Person Who Was Paid                                                                                 Description and value of any property                               Date payment or                     Amount of payment
            Address                                                                                             transferred                                                         transfer was
                                                                                                                                                                                    made

18.       W ithin 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
          ordinary course of your business or financial affairs?
          In c lu d e b o th o u trig h t tra n s f e rs a n d tra n s f e rs m a d e a s s e c u rity (s u c h a s th e g ra n tin g o f a s e c u rity in te re s t o r m o rtg a g e o n y o u r p ro p e rty ). D o n o t in c lu d e g if ts a n d
          tra n s f e rs th a t y o u h a v e a lre a d y lis te d o n th is s ta te m e n t.
                    No
                    Y e s . F ill in th e d e ta ils .

            Person Who Received Transfer                                                                        Description and value of property               Describe any property or                               Date transfer was
                                                                                                                transferred                                     payments received or debts
            Address                                                                                                                                                                                                    made
                                                                                                                                                                paid in exchange

            Person's relationship to you

1 9 . Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
      (T h e s e a re o fte n c a lle d                            )
                                          asset-protection devices.
              No
              Y e s . F ill in th e d e ta ils .

            Name of trust                                                                                       Description and value of the property transferred                                                      Date Transfer was
                                                                                                                                                                                                                       made

 Part 8:               L ist of Certain Financial A ccounts, I nstruments, Safe Deposit Boxes, and Storage Units

20.       W ithin 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
          transferred?
          I nclude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
          funds, cooperatives, associations, and other financial institutions.
                    No
                    Yes. Fill in the details.

            Name of Financial Institution and Address                                                      Last 4 digits of           Type of account or                    Date account was                            Last balance before
            (Number, Street, City, State and ZI P Code)                                                    account number             instrument                            closed, sold, moved,                          closing or transfer
                                                                                                                                                                            or transferred




O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                                                 page 5

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                  B e s t C a s e B a n k ru p tc y
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 D e b to r 1                                                                                                                                             C ase num ber
                        Cathy Sue Suttles                                                                                                                                 ( if known)




2 1 . Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
      valuables?


                    No
                    Yes. Fill in the details.

            Name of Financial Institution                                                                      Who else had access to it?                 Describe the contents                   Do you still have
            Address (Number, Street, City, State and ZI P Code)                                                Address (Number, Street, City, State                                               it?
                                                                                                               and ZI P Code)


2 2 . Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?


                    No
                    Yes. Fill in the details.

            Name of Storage Facility                                                                           Who else has or had access to              Describe the contents                   Do you still have
            Address (Number, Street, City, State and ZI P Code)                                                it?                                                                                it?
                                                                                                               Address (Number, Street, City, State
                                                                                                               and ZI P Code)


 Part 9:               I dentify Property Y ou H old or Control for Someone Else

23.       Do you hold or control any property that someone else owns? I nclude any property you borrowed from, are storing for, or hold in trust for someone.

                    No
                    Y es. Fill in the details.
            Owner's Name                                                                                       Where is the property? (Number,            Describe the property                                        Value
            Address (Number, Street, City, State and ZI P Code)                                                Street, City, State and ZI P Code)



 Part 10:              Give Details About Environmental I nformation


For the purpose of Part 10, the following definitions apply:


          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
          substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
          cleanup of these substances, wastes, or material.

          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own,
          operate, or utilize it, including disposal sites.

          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
          pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


                    No
                    Y es. Fill in the details.
            Name of site                                                                                       Governmental unit                              Environmental law, if you know it   Date of notice
            Address (Number, Street, City, State and ZI P Code)                                                Address (Number, Street, City, State and
                                                                                                               ZI P Code)




O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                      page 6

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                       B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                                   Doc 1          Filed 02/28/19                 Page 47 of 63
 D e b to r 1                                                                                                                                              C ase num ber
                        Cathy Sue Suttles                                                                                                                                  ( if known)




25. Have you notified any governmental unit of any release of hazardous material?


                    No
                    Yes. Fill in the details.

            Name of site                                                                                        Governmental unit                              Environmental law, if you know it   Date of notice
            Address (Number, Street, City, State and ZI P Code)                                                 Address (Number, Street, City, State and
                                                                                                                ZI P Code)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


                    No
                    Yes. Fill in the details.

            Case Title                                                                                          Court or agency                            Nature of the case                      Status of the
            Case Number                                                                                         Name                                                                               case
                                                                                                                Address (Number, Street, City, State
                                                                                                                and ZI P Code)


 Part 11:              Give Details A bout Y our Business or Connections to A ny Business


27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                          A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                          A member of a limited liability company (LLC) or limited liability partnership (LLP)

                          A partner in a partnership

                          An officer, director, or managing executive of a corporation

                          An owner of at least 5% of the voting or equity securities of a corporation

                    No. None of the above applies. Go to Part 12.

                    Yes. Check all that apply above and fill in the details below for each business.

            Business Name                                                                                  Describe the nature of the business                  Employer Identification number
            Address                                                                                                                                             Do not include Social Security number or ITIN.
            (Number, Street, City, State and ZI P Code)                                                    Name of accountant or bookkeeper
                                                                                                                                                                Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
          creditors, or other parties.


                    No
                    Yes. Fill in the details below.

            Name                                                                                           Date Issued
            Address
            (Number, Street, City, State and ZI P Code)




O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                        page 7

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                         B e s t C a s e B a n k ru p tc y
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 D e b to r 1                                                                                                                                         C ase num ber
                        Cathy Sue Suttles                                                                                                                               ( if known)




 Part 12:              Sign Below


I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.


 /s/ Cathy Sue Suttles
 Cathy Sue Suttles                                                                                              Signature of Debtor 2
 Signature of Debtor 1

 Date            February 28, 2019                                                                              Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
      Yes


Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
      Y e s . N a m e o f P e rs o n                            . A tta c h th e                                                                                       (O ffic ia l F o rm 1 1 9 ).
                                                                                         Bankruptcy Petition Preparer's Notice, Declaration, and Signature




O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                         page 8

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                          B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                             Doc 1             Filed 02/28/19                     Page 49 of 63


 Fill in this information to identify your case:

 D e b to r 1
                                          Cathy Sue Suttles
                                          F irs t N a m e                                          M id d le N a m e                La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                          M id d le N a m e                La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt f o r th e :                             M ID D L E D IS T R IC T O F F L O R ID A

 C ase num ber
 (if k n o w n )                                                                                                                                                                            C h e c k if th is is a n
                                                                                                                                                                                            a m e n d e d f ilin g



O f f ic ia l F o rm 1 0 8
Statement of I ntention for I ndividuals Filing Under Chapter 7                                                                                                                                     12/15


I f you are an individual filing under chapter 7, you must fill out this form if:
      creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
Y ou must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is
          earlier, unless the court extends the time for cause. Y ou must also send copies to the creditors and lessors you list on the form

I f two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
           form.

Be as complete and accurate as possible. I f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
         and case number (if known).

 P a rt 1 :           L ist Y our Creditors W ho Have Secured Claims

1 . For any creditors that you listed in Part 1 of Schedule D: Creditors W ho H ave Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral        W hat do you intend to do with the property that         Did you claim the property as
                                                                      secures a debt?                                          exempt on Schedule C?

      C re d ito r's                                                                                                   S u rre n d e r th e p ro p e rty .                                No
      nam e:                                                                                                            R e ta in th e p ro p e rty a n d re d e e m it.
                                                                                                                       R e ta in th e p ro p e rty a n d e n te r in to a Reaffirmation   Y es
      D e s c rip tio n o f
                                                                                                                        Agreement.
      p ro p e rty                                                                                                     R e ta in th e p ro p e rty a n d [e x p la in ]:
      s e c u rin g d e b t:


      C re d ito r's                                                                                                   S u rre n d e r th e p ro p e rty .                                No
      nam e:                                                                                                            R e ta in th e p ro p e rty a n d re d e e m it.
                                                                                                                       R e ta in th e p ro p e rty a n d e n te r in to a Reaffirmation   Y es
      D e s c rip tio n o f
                                                                                                                        Agreement.
      p ro p e rty                                                                                                     R e ta in th e p ro p e rty a n d [e x p la in ]:
      s e c u rin g d e b t:


      C re d ito r's                                                                                                   S u rre n d e r th e p ro p e rty .                                No
      nam e:                                                                                                            R e ta in th e p ro p e rty a n d re d e e m it.
                                                                                                                       R e ta in th e p ro p e rty a n d e n te r in to a Reaffirmation   Y es
      D e s c rip tio n o f
                                                                                                                        Agreement.
      p ro p e rty                                                                                                     R e ta in th e p ro p e rty a n d [e x p la in ]:
      s e c u rin g d e b t:




O f f ic ia l F o rm 1 0 8                                                                  Statement of I ntention for I ndividuals Filing Under Chapter 7                                                                    pag e 1

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                              B e s t C a s e B a n k ru p tc y
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 D e b to r 1                                                                                                                                            C ase num ber
                        Cathy Sue Suttles                                                                                                                                ( if known)



      C re d ito r's                                                                                              S u rre n d e r th e p ro p e rty .                                            No
      nam e:                                                                                                       R e ta in th e p ro p e rty a n d re d e e m it.
                                                                                                                  R e ta in th e p ro p e rty a n d e n te r in to a Reaffirmation               Y es
      D e s c rip tio n o f
                                                                                                                   Agreement.
      p ro p e rty                                                                                                R e ta in th e p ro p e rty a n d [e x p la in ]:
      s e c u rin g d e b t:



 P a rt 2 : L ist Y our Unexpired Personal Property L eases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired L eases (Official Form 106G), fill in the
information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                                                                                      W ill the lease be assumed?

 L e s s o r's n a m e :                                                                                                                                                                  No
 D e s c rip tio n o f le a s e d
 P ro p e rty :                                                                                                                                                                           Y es

 L e s s o r's n a m e :                                                                                                                                                                  No
 D e s c rip tio n o f le a s e d
 P ro p e rty :                                                                                                                                                                           Y es

 L e s s o r's n a m e :                                                                                                                                                                  No
 D e s c rip tio n o f le a s e d
 P ro p e rty :                                                                                                                                                                           Y es

 L e s s o r's n a m e :                                                                                                                                                                  No
 D e s c rip tio n o f le a s e d
 P ro p e rty :                                                                                                                                                                           Y es

 L e s s o r's n a m e :                                                                                                                                                                  No
 D e s c rip tio n o f le a s e d
 P ro p e rty :                                                                                                                                                                           Y es

 L e s s o r's n a m e :                                                                                                                                                                  No
 D e s c rip tio n o f le a s e d
 P ro p e rty :                                                                                                                                                                           Y es

 L e s s o r's n a m e :                                                                                                                                                                  No
 D e s c rip tio n o f le a s e d
 P ro p e rty :                                                                                                                                                                           Y es

 P a rt 3 :           Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that is
subject to an unexpired lease.

 X          /s/ Cathy Sue Suttles                                                                                            X
                                                                                                                                   S ig n a tu re o f D e b to r 2
            Cathy Sue Suttles
            S ig n a tu re o f D e b to r 1


            D a te                                                                                                           D a te
                                February 28, 2019


O f f ic ia l F o rm 1 0 8                                                                  Statement of I ntention for I ndividuals Filing Under Chapter 7                                                                     pag e 2

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                               B e s t C a s e B a n k ru p tc y
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 F ill in th is in fo rm a tio n to id e n tify y o u r c a s e :                                                                                 C h e c k o n e b o x o n ly a s d ire c te d in th is fo rm a n d in F o rm
                                                                                                                                                  1 2 2 A -1 S u p p :
 D e b to r 1
                                   Cathy Sue Suttles
 D e b to r 2                                                                                                                                               1 . T h e re is n o p re s u m p tio n o f a b u s e
 (S p o u s e , if filin g )
                                                                                                                                                            2 . T h e c a lc u la tio n to d e te rm in e if a p re s u m p tio n o f a b u s e
 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                           M id d le D is tric t o f F lo rid a                                       a p p lie s w ill b e m a d e u n d e r
                                                                                                                                                                                                          Chapter 7 Means Test
                                                                                                                                                                                     (O ffic ia l F o rm 1 2 2 A - 2 ).
 C a s e num be r                                                                                                                                                Calculation
 (if k n o w n )                                                                                                                                            3 . T h e M e a n s T e s t d o e s n o t a p p ly n o w b e c a u s e o f
                                                                                                                                                                 q u a lifie d m ilita ry s e rv ic e b u t it c o u ld a p p ly la te r.

                                                                                                                                                            C h e c k if th is is a n a m e n d e d filin g

O ffic ia l F o rm 1 2 2 A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a separate
sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case number (if known). If you
believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying military service, complete and file
Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:                   Calculate Your Current Monthly Income

    1 . What is your marital and filing status? C h e c k o n e o n ly .

          Not married. F ill o u t C o lu m n A , lin e s 2 - 1 1 .

                   Married and your spouse is filing with you. F ill o u t b o th C o lu m n s A a n d B , lin e s 2 - 1 1 .
                   Married and your spouse is NOT filing with you. You and your spouse are:

                        Living in the same household and are not legally separated. F ill o u t b o th C o lu m n s A a n d B , lin e s 2 - 1 1 .

                        Living separately or are legally separated. F ill o u t C o lu m n A , lin e s 2 - 1 1 ; d o n o t fill o u t C o lu m n B . B y c h e c k in g th is b o x , y o u d e c la re u n d e r
                         p e n a lty o f p e rju ry th a t y o u a n d y o u r s p o u s e a re le g a lly s e p a ra te d u n d e r n o n b a n k ru p tc y la w th a t a p p lie s o r th a t y o u a n d y o u r s p o u s e a re
                         liv in g a p a rt fo r re a s o n s th a t d o n o t in c lu d e e v a d in g th e M e a n s T e s t re q u ire m e n ts . 1 1 U . S . C § 7 0 7 (b )(7 )(B ).

      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 1 1 U . S . C . § 1 0 1 (1 0 A ). F o r
      e x a m p le , if y o u a re filin g o n S e p te m b e r 1 5 , th e 6 - m o n th p e rio d w o u ld b e M a rc h 1 th ro u g h A u g u s t 3 1 . If th e a m o u n t o f y o u r m o n th ly in c o m e v a rie d d u rin g th e 6 m o n th s ,
      a d d th e in c o m e fo r a ll 6 m o n th s a n d d iv id e th e to ta l b y 6 . F ill in th e re s u lt. D o n o t in c lu d e a n y in c o m e a m o u n t m o re th a n o n c e . F o r e x a m p le , if b o th s p o u s e s o w n th e
      s a m e re n ta l p ro p e rty , p u t th e in c o m e fro m th a t p ro p e rty in o n e c o lu m n o n ly . If y o u h a v e n o th in g to re p o rt fo r a n y lin e , w rite $ 0 in th e s p a c e .

                                                                                                                                                        Column A                              Column B
                                                                                                                                                        Debtor 1                              Debtor 2 or
                                                                                                                                                                                              non-filing spouse
    2 . Your gross wages, salary, tips, bonuses, overtime, and commissions (b e fo re a ll
                                                                                                                                                        $                                     $
        p a y ro ll d e d u c tio n s ).                                                                                                                                       0.00
    3 . Alimony and maintenance payments. D o n o t in c lu d e p a y m e n ts fro m a s p o u s e if
                                                                                                                                                        $                                     $
        C o lu m n B is fille d in .                                                                                                                                           0.00
    4 . All amounts from any source which are regularly paid for household expenses of you

        or your dependents, including child support. In c lu d e re g u la r c o n trib u tio n s fro m a n
        u n m a rrie d p a rtn e r, m e m b e rs o f y o u r h o u s e h o ld , y o u r d e p e n d e n ts , p a re n ts , a n d
        ro o m m a te s . In c lu d e re g u la r c o n trib u tio n s fro m a s p o u s e o n ly if C o lu m n B is n o t fille d
                                                                                                                                                        $                                     $
            in . D o n o t in c lu d e p a y m e n ts y o u lis te d o n lin e 3 .                                                                                             0.00
    5 . Net income from operating a business, profession, or farm
                                                                                                                                Debtor 1
                                                                                                                      $
            G ro s s re c e ip ts (b e fo re a ll d e d u c tio n s )                                                         0.00
            O rd in a ry a n d n e c e s s a ry o p e ra tin g e x p e n s e s                                       -$       0.00
                                                                                                                                                                                              $
            N e t m o n th ly in c o m e fro m a b u s in e s s , p ro fe s s io n , o r fa rm $                              0.00   Copy here -> $                            0.00
   6 . Net income from rental and other real property
O ffic ia l F o rm 1 2 2 A - 1                     Chapter 7 Statement of Your Current Monthly Income                                                                                                                                           page 1
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                              Doc 1    Filed 02/28/19                      Page 52 of 63
 D e b to r 1                                                                                                                                    Ca s e num be r (              )
                      Cathy Sue Suttles                                                                                                                              if known


                                                                                                                           Debtor 1
                                                                                                                    $
            G ro s s re c e ip ts (b e fo re a ll d e d u c tio n s )                                                    0.00
            O rd in a ry a n d n e c e s s a ry o p e ra tin g e x p e n s e s                                  -$       0.00
                                                                                                                                                                                    $
            N e t m o n th ly in c o m e fro m re n ta l o r o th e r re a l p ro p e rty                       $        0.00   Copy here -> $                        0.00
                                                                                                                                             $                                      $
    7 . Interest, dividends, and royalties                                                                                                                            0.00




O ffic ia l F o rm 1 2 2 A - 1                                                                      Chapter 7 Statement of Your Current Monthly Income                                                 page 2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                            B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                           Doc 1       Filed 02/28/19                      Page 53 of 63
 D e b to r 1                                                                                                                                    Ca s e num be r (              )
                      Cathy Sue Suttles                                                                                                                              if known




                                                                                                                                             Column A                               Column B
                                                                                                                                             Debtor 1                               Debtor 2 or
                                                                                                                                                                                    non-filing spouse
    8 . Unemployment compensation                                                                                                            $                                      $
                                                                                                                                                                      0.00
        D o n o t e n te r th e a m o u n t if y o u c o n te n d th a t th e a m o u n t re c e iv e d w a s a b e n e fit
        u n d e r th e S o c ia l S e c u rity A c t. In s te a d , lis t it h e re :
                 F or you                                                                                      $
                                                                                                                                 0.00
                 F or your s pous e                                                                            $

    9 . Pension or retirement income. D o n o t in c lu d e a n y a m o u n t re c e iv e d th a t w a s a
                                                                                                                                             $                                      $
        b e n e fit u n d e r th e S o c ia l S e c u rity A c t.                                                                                                     0.00
    1 0 . Income from all other sources not listed above. S p e c ify th e s o u rc e a n d a m o u n t. D o
          n o t in c lu d e a n y b e n e fits re c e iv e d u n d e r th e S o c ia l S e c u rity A c t o r p a y m e n ts re c e iv e d
          a s a v ic tim o f a w a r c rim e , a c rim e a g a in s t h u m a n ity , o r in te rn a tio n a l o r d o m e s tic
          te rro ris m . If n e c e s s a ry , lis t o th e r s o u rc e s o n a s e p a ra te p a g e a n d p u t th e to ta l b e lo w .
                         .                                                                                                                   $                                      $
                                                                                                                                                                      0.00
                                                                                                                                             $                                      $
                                                                                                                                                                      0.00
                              T o ta l a m o u n ts fro m s e p a ra te p a g e s , if a n y .                                           +   $
                                                                                                                                                                      0.00          $

    1 1 . Calculate your total current monthly income. A d d lin e s 2 th ro u g h 1 0 fo r e a c h
                                                                                                                                     $                               +   $                        =     $
          c o lu m n . T h e n a d d th e to ta l fo r C o lu m n A to th e to ta l fo r C o lu m n B .                                             0.00                                                                  0.00

                                                                                                                                                                                                        Total current monthly
                                                                                                                                                                                                        income

 Part 2:                  Determine Whether the Means Test Applies to You

    1 2 . Calculate your current monthly income for the year. F o llo w th e s e s te p s :

            1 2 a . C o p y y o u r to ta l c u rre n t m o n th ly in c o m e fro m lin e 1 1                                                                                                      $
                                                                                                                                                        Copy line 11 here=>                                               0.00


                                                                                                                                                                                                            x 12
                      M u ltip ly b y 1 2 (th e n u m b e r o f m o n th s in a y e a r)

            1 2 b . T h e re s u lt is y o u r a n n u a l in c o m e fo r th is p a rt o f th e fo rm                                                                                     12b. $                         0.00

    1 3 . Calculate the median family income that applies to you. F o llo w th e s e s te p s :

            F ill in th e s ta te in w h ic h y o u liv e .
                                                                                                                      FL

            F ill in th e n u m b e r o f p e o p le in y o u r h o u s e h o ld .
                                                                                                                       1
            F ill in th e m e d ia n fa m ily in c o m e fo r y o u r s ta te a n d s iz e o f h o u s e h o ld .                                                                          13.      $         48,000.00
            T o fin d a lis t o f a p p lic a b le m e d ia n in c o m e a m o u n ts , g o o n lin e u s in g th e lin k s p e c ifie d in th e s e p a ra te in s tru c tio n s
            fo r th is fo rm . T h is lis t m a y a ls o b e a v a ila b le a t th e b a n k ru p tc y c le rk ’s o ffic e .

    1 4 . How do the lines compare?
          14a.         L in e 1 2 b is le s s th a n o r e q u a l to lin e 1 3 . O n th e to p o f p a g e 1 , c h e c k b o x 1 ,
                                                                                                                                                 There is no presumption of abuse.
                                     G o to P a rt 3 .
            14b.                     L in e 1 2 b is m o re th a n lin e 1 3 . O n th e to p o f p a g e 1 , c h e c k b o x 2 ,
                                                                                                                                    The presumption of abuse is determined by Form 122A-2.
                                     G o to P a rt 3 a n d fill o u t F o rm 1 2 2 A - 2 .

 Part 3:                  Sign Below
                      B y s ig n in g h e re , I d e c la re u n d e r p e n a lty o f p e rju ry th a t th e in fo rm a tio n o n th is s ta te m e n t a n d in a n y a tta c h m e n ts is tru e a n d c o rre c t.


                    X /s/ Cathy Sue Suttles
                             Cathy Sue Suttles
O ffic ia l F o rm 1 2 2 A - 1                                                                      Chapter 7 Statement of Your Current Monthly Income                                                                       page 3
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                  B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-01285-CCJ                                           Doc 1       Filed 02/28/19                  Page 54 of 63
 D e b to r 1                                                                                                                                Ca s e num be r (              )
                      Cathy Sue Suttles                                                                                                                          if known

                           S ig n a tu re o f D e b to r 1
                D a te
                           February 28, 2019
                           MM / DD / YYYY
                      If y o u c h e c k e d lin e 1 4 a , d o N O T fill o u t o r file F o rm 1 2 2 A - 2 .

                      If y o u c h e c k e d lin e 1 4 b , fill o u t F o rm 1 2 2 A - 2 a n d file it w ith th is fo rm .




O ffic ia l F o rm 1 2 2 A - 1                                                                      Chapter 7 Statement of Your Current Monthly Income                                          page 4
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                     B e s t C a s e B a n k ru p tc y
                                                        Case 6:19-bk-01285-CCJ                                Doc 1   Filed 02/28/19                Page 55 of 63


Notice Required by 11 U.S.C. § 342(b) for
                                  (F o rm 2 0 1 0 )
Individuals Filing for Bankruptcy


                                                                                                                         Chapter 7:                 Liquidation
 This notice is for you if:
                                                                                                                                     $245           filin g fe e
               You are an individual filing for bankruptcy,
               a nd                                                                                                                    $75          a d m in is tra tiv e fe e


               Your debts are primarily consumer debts.                                                                  +             $15      tru s te e s u rc h a rg e
                                            a re d e fin e d in 1 1 U . S . C .
               Consumer debts                                                                                                        $335           to ta l fe e
               § 1 0 1 (8 ) a s “in c u rre d b y a n in d iv id u a l
               p rim a rily fo r a p e rs o n a l, fa m ily , o r                                                        C h a p te r 7 is fo r in d iv id u a ls w h o h a v e fin a n c ia l
               h o u s e h o ld p u rp o s e . ”                                                                         d iffic u lty p re v e n tin g th e m fro m p a y in g th e ir d e b ts
                                                                                                                         a n d w h o a re w illin g to a llo w th e ir n o n e x e m p t
                                                                                                                         p ro p e rty to b e u s e d to p a y th e ir c re d ito rs . T h e
 The types of bankruptcy that are available to individuals                                                               p rim a ry p u rp o s e o f filin g u n d e r c h a p te r 7 is to h a v e
                                                                                                                         y o u r d e b ts d is c h a rg e d . T h e b a n k ru p tc y d is c h a rg e
 In d iv id u a ls w h o m e e t th e q u a lific a tio n s m a y file u n d e r                                         re lie v e s y o u a fte r b a n k ru p tc y fro m h a v in g to p a y
 o n e o f fo u r d iffe re n t c h a p te rs o f B a n k ru p tc y C o d e :                                            m a n y o f y o u r p re - b a n k ru p tc y d e b ts . E x c e p tio n s e x is t
                                                                                                                         fo r p a rtic u la r d e b ts , a n d lie n s o n p ro p e rty m a y s till
               C h a p te r 7 - L iq u id a tio n                                                                        b e e n fo rc e d a fte r d is c h a rg e . F o r e x a m p le , a c re d ito r
                                                                                                                         m a y h a v e th e rig h t to fo re c lo s e a h o m e m o rtg a g e o r
               C h a p te r 1 1 - R e o rg a n iz a tio n                                                                re p o s s e s s a n a u to m o b ile .

               C h a p te r 1 2 - V o lu n ta ry re p a y m e n t p la n                                                 H o w e v e r, if th e c o u rt fin d s th a t y o u h a v e c o m m itte d
                                 fo r fa m ily fa rm e rs o r                                                            c e rta in k in d s o f im p ro p e r c o n d u c t d e s c rib e d in th e
                                 fis h e rm e n                                                                          B a n k ru p tc y C o d e , th e c o u rt m a y d e n y y o u r
                                                                                                                         d is c h a rg e .
               C h a p te r 1 3 - V o lu n ta ry re p a y m e n t p la n
                                 fo r in d iv id u a ls w ith re g u la r                                                Y o u s h o u ld k n o w th a t e v e n if y o u file c h a p te r 7 a n d
                                 in c o m e                                                                              y o u re c e iv e a d is c h a rg e , s o m e d e b ts a re n o t
                                                                                                                         d is c h a rg e d u n d e r th e la w . T h e re fo re , y o u m a y s till
                                                                                                                         b e re s p o n s ib le to p a y :
 You should have an attorney review your
                                                                                                                               m o s t ta x e s ;
 decision to file for bankruptcy and the choice of
 chapter.
                                                                                                                               m o s t s tu d e n t lo a n s ;

                                                                                                                               d o m e s tic s u p p o rt a n d p ro p e rty s e ttle m e n t
                                                                                                                               o b lig a tio n s ;




Notice Required by 11 U.S.C. § 342(b) for I ndividuals Filing for Bankruptcy (Form 2010)                                                                                                                      page 1

S o f tw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w .b e s tc a s e .c o m                                                                              B e s t C a s e B a n k ru p tc y
                                                        Case 6:19-bk-01285-CCJ                                Doc 1   Filed 02/28/19                  Page 56 of 63



               m o s t fin e s , p e n a ltie s , fo rfe itu re s , a n d c rim in a l                                 y o u r in c o m e is m o re th a n th e m e d ia n in c o m e fo r y o u r
               re s titu tio n o b lig a tio n s ; a n d                                                               s ta te o f re s id e n c e a n d fa m ily s iz e , d e p e n d in g o n th e
                                                                                                                       re s u lts o f th e                     , th e U . S . tru s te e , b a n k ru p tc y
                                                                                                                                            Means Test
               c e rta in d e b ts th a t a re n o t lis te d in y o u r b a n k ru p tc y                             a d m in is tra to r, o r c re d ito rs c a n file a m o tio n to d is m is s
               p a p e rs .                                                                                            y o u r c a s e u n d e r § 7 0 7 (b ) o f th e B a n k ru p tc y C o d e . If a
                                                                                                                       m o tio n is file d , th e c o u rt w ill d e c id e if y o u r c a s e s h o u ld
 Y o u m a y a ls o b e re q u ire d to p a y d e b ts a ris in g fro m :                                              b e d is m is s e d . T o a v o id d is m is s a l, y o u m a y c h o o s e to
                                                                                                                       p ro c e e d u n d e r a n o th e r c h a p te r o f th e B a n k ru p tc y
               fra u d o r th e ft;                                                                                    Code .

               fra u d o r d e fa lc a tio n w h ile a c tin g in b re a c h o f                                       If y o u a re a n in d iv id u a l filin g fo r c h a p te r 7 b a n k ru p tc y ,
               fid u c ia ry c a p a c ity ;                                                                           th e tru s te e m a y s e ll y o u r p ro p e rty to p a y y o u r d e b ts ,
                                                                                                                       s u b je c t to y o u r rig h t to e x e m p t th e p ro p e rty o r a p o rtio n
               in te n tio n a l in ju rie s th a t y o u in flic te d ; a n d                                         o f th e p ro c e e d s fro m th e s a le o f th e p ro p e rty . T h e
                                                                                                                       p ro p e rty , a n d th e p ro c e e d s fro m p ro p e rty th a t y o u r
               d e a th o r p e rs o n a l in ju ry c a u s e d b y o p e ra tin g a                                   b a n k ru p tc y tru s te e s e lls o r liq u id a te s th a t y o u a re
               m o to r v e h ic le , v e s s e l, o r a irc ra ft w h ile in to x ic a te d                           e n title d to , is c a lle d                              . E x e m p tio n s
                                                                                                                                                      exempt property
               fro m a lc o h o l o r d ru g s .                                                                       m a y e n a b le y o u to k e e p y o u r h o m e , a c a r, c lo th in g ,
                                                                                                                       a n d h o u s e h o ld ite m s o r to re c e iv e s o m e o f th e
 If y o u r d e b ts a re p rim a rily c o n s u m e r d e b ts , th e c o u rt                                        p ro c e e d s if th e p ro p e rty is s o ld .
 c a n d is m is s y o u r c h a p te r 7 c a s e if it fin d s th a t y o u h a v e
 e n o u g h in c o m e to re p a y c re d ito rs a c e rta in a m o u n t.                                            E x e m p tio n s a re n o t a u to m a tic . T o e x e m p t p ro p e rty ,
 Y o u m u s t file                                                                                                    y o u m u s t lis t it o n
                        Chapter 7 Statement of Your Current                                                                                        Schedule C: The Property You
                               (O ffic ia l F o rm 1 2 2 A –1 ) if y o u a re a n                                                                    (O ffic ia l F o rm 1 0 6 C ). If y o u d o n o t
 Monthly Income                                                                                                        Claim as Exempt
 in d iv id u a l filin g fo r b a n k ru p tc y u n d e r c h a p te r 7 . T h is                                     lis t th e p ro p e rty , th e tru s te e m a y s e ll it a n d p a y a ll o f
 fo rm w ill d e te rm in e y o u r c u rre n t m o n th ly in c o m e a n d                                           th e p ro c e e d s to y o u r c re d ito rs .
 c o m p a re w h e th e r y o u r in c o m e is m o re th a n th e m e d ia n
 in c o m e th a t a p p lie s in y o u r s ta te .

 If y o u r in c o m e is n o t a b o v e th e m e d ia n fo r y o u r s ta te ,
 y o u w ill n o t h a v e to c o m p le te th e o th e r c h a p te r 7 fo rm ,
                                                                                                                       Chapter 11: Reorganization
 th e                                                        (O ffic ia l F o rm
       Chapter 7 Means Test Calculation
 1 2 2 A –2 ).
                                                                                                                                         $ 1 ,1 6 7     filin g fe e
 If y o u r in c o m e is a b o v e th e m e d ia n fo r y o u r s ta te , y o u
 m u s t file a s e c o n d fo rm — th e
                                              Chapter 7 Means Test                                                         +                 $550      a d m in is tra tiv e f e e
                    (O ffic ia l F o rm 1 2 2 A –2 ). T h e c a lc u la tio n s
 Calculation                                                                                                                             $ 1 ,7 1 7     to ta l fe e
 o n th e fo rm — s o m e tim e s c a lle d th e
                                                         Means
         — d e d u c t fro m y o u r in c o m e liv in g e x p e n s e s a n d
 Test                                                                                                                  C h a p te r 1 1 is o fte n u s e d fo r re o rg a n iz in g a b u s in e s s ,
 p a y m e n ts o n c e rta in d e b ts to d e te rm in e a n y a m o u n t
                                                                                                                       b u t is a ls o a v a ila b le to in d iv id u a ls . T h e p ro v is io n s o f
 a v a ila b le to p a y u n s e c u re d c re d ito rs . If
                                                                                                                       c h a p te r 1 1 a re to o c o m p lic a te d to s u m m a riz e b rie fly .




Notice Required by 11 U.S.C. § 342(b) for I ndividuals Filing for Bankruptcy (Form 2010)                                                                                                                        page 2

S o f tw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w .b e s tc a s e .c o m                                                                                B e s t C a s e B a n k ru p tc y
                                                        Case 6:19-bk-01285-CCJ                                Doc 1   Filed 02/28/19              Page 57 of 63

               Read These Important Warnings

                        Because bankruptcy can have serious long-term financial and legal consequences, including loss of your
                        property, you should hire an attorney and carefully consider all of your options before you file. Only an attorney
                        can give you legal advice about what can happen as a result of filing for bankruptcy and what your options are. If
                        you do file for bankruptcy, an attorney can help you fill out the forms properly and protect you, your family, your
                        home, and your possessions.


                        Although the law allows you to represent yourself in bankruptcy court, you should understand that many people
                        find it difficult to represent themselves successfully. The rules are technical, and a mistake or inaction may harm
                        you. If you file without an attorney, you are still responsible for knowing and following all of the legal
                        requirements.


                        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the necessary
                        documents.


                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your bankruptcy
                        case. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                        bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
                        1341, 1519, and 3571.




                                                                                                                       U n d e r c h a p te r 1 3 , y o u m u s t file w ith th e c o u rt a p la n
                                                                                                                       to re p a y y o u r c re d ito rs a ll o r p a rt o f th e m o n e y th a t
 Chapter 12: Repayment plan for family
                                                                                                                       y o u o w e th e m , u s u a lly u s in g y o u r fu tu re e a rn in g s . If
                                      farmers or fishermen
                                                                                                                       th e c o u rt a p p ro v e s y o u r p la n , th e c o u rt w ill a llo w y o u
                                                                                                                       to re p a y y o u r d e b ts , a s a d ju s te d b y th e p la n , w ith in 3
                                                                                                                       y e a rs o r 5 y e a rs , d e p e n d in g o n y o u r in c o m e a n d o th e r
                                                                                                                       fa c to rs .

                                                                                                                       A fte r y o u m a k e a ll th e p a y m e n ts u n d e r y o u r p la n ,
                                                                                                                       m a n y o f y o u r d e b ts a re d is c h a rg e d . T h e d e b ts th a t a re
                                                                                                                       n o t d is c h a rg e d a n d th a t y o u m a y s till b e re s p o n s ib le to
                                                                                                                       p a y in c lu d e :

                                                                                                                                 d o m e s tic s u p p o rt o b lig a tio n s ,

                                                                                                                                 m o s t s tu d e n t lo a n s ,

                                                                                                                                 c e rta in ta x e s ,

                                                                                                                                 d e b ts fo r fra u d o r th e ft,

                                                                                                                                 d e b ts fo r fra u d o r d e fa lc a tio n w h ile a c tin g in a
                                                                                                                                 fid u c ia ry c a p a c ity ,

Notice Required by 11 U.S.C. § 342(b) for I ndividuals Filing for Bankruptcy (Form 2010)                                                                                                                    page 3

S o f tw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w .b e s tc a s e .c o m                                                                            B e s t C a s e B a n k ru p tc y
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                                   $ 2 0 0 filin g fe e                                                                      m o s t c rim in a l fin e s a n d re s titu tio n o b lig a tio n s ,
 +                                   $ 7 5 a d m in is tra tiv e f e e
                                   $ 2 7 5 to ta l fe e                                                                      c e rta in d e b ts th a t a re n o t lis te d in y o u r
                                                                                                                             b a n k ru p tc y p a p e rs ,
 S im ila r to c h a p te r 1 3 , c h a p te r 1 2 p e rm its fa m ily fa rm e rs
 a n d fis h e rm e n to re p a y th e ir d e b ts o v e r a p e rio d o f tim e                                             c e rta in d e b ts fo r a c ts th a t c a u s e d d e a th o r
 u s in g fu tu re e a rn in g s a n d to d is c h a rg e s o m e d e b ts th a t                                            p e rs o n a l in ju ry , a n d
 a re n o t p a id .
                                                                                                                             c e rta in lo n g - te rm s e c u re d d e b ts .



 Chapter 13: Repayment plan for
                                      individuals with regular
                                      income



                                   $ 2 3 5 filin g fe e
 +                                   $ 7 5 a d m in is tra tiv e f e e
                                   $ 3 1 0 to ta l fe e

 C h a p te r 1 3 is fo r in d iv id u a ls w h o h a v e re g u la r in c o m e
 a n d w o u ld lik e to p a y a ll o r p a rt o f th e ir d e b ts in
 in s ta llm e n ts o v e r a p e rio d o f tim e a n d to d is c h a rg e
 s o m e d e b ts th a t a re n o t p a id . Y o u a re e lig ib le fo r
 c h a p te r 1 3 o n ly if y o u r d e b ts a re n o t m o re th a n c e rta in
 d o lla r a m o u n ts s e t fo rth in 1 1 U . S . C . § 1 0 9 .




Notice Required by 11 U.S.C. § 342(b) for I ndividuals Filing for Bankruptcy (Form 2010)                                                                                                                 page 4

S o f tw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w .b e s tc a s e .c o m                                                                         B e s t C a s e B a n k ru p tc y
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                                                                                                                       A m a rrie d c o u p le m a y file a b a n k ru p tc y c a s e
                               Warning: File Your Forms on Time                                                        to g e th e r— c a lle d a                    . If y o u file a jo in t c a s e
                                                                                                                                                     joint case
                                                                                                                       a n d e a c h s p o u s e lis ts th e s a m e m a ilin g a d d re s s o n th e
 S e c tio n 5 2 1 (a )(1 ) o f th e B a n k ru p tc y C o d e re q u ire s th a t                                     b a n k ru p tc y p e titio n , th e b a n k ru p tc y c o u rt g e n e ra lly w ill
 y o u p ro m p tly file d e ta ile d in fo rm a tio n a b o u t y o u r                                               m a il y o u a n d y o u r s p o u s e o n e c o p y o f e a c h n o tic e ,
 c re d ito rs , a s s e ts , lia b ilitie s , in c o m e , e x p e n s e s a n d                                      u n le s s y o u file a s ta te m e n t w ith th e c o u rt a s k in g th a t
 g e n e ra l fin a n c ia l c o n d itio n . T h e c o u rt m a y d is m is s y o u r                                 e a c h s p o u s e re c e iv e s e p a ra te c o p ie s .
 b a n k ru p tc y c a s e if y o u d o n o t file th is in fo rm a tio n w ith in
 th e d e a d lin e s s e t b y th e B a n k ru p tc y C o d e , th e                                                  Understand which services you could receive from
 B a n k ru p tc y R u le s , a n d th e lo c a l ru le s o f th e c o u rt.                                           credit counseling agencies

 F o r m o re in fo rm a tio n a b o u t th e d o c u m e n ts a n d                                                   T h e la w g e n e ra lly re q u ire s th a t y o u re c e iv e a c re d it
 th e ir d e a d lin e s , g o to :                                                                                    c o u n s e lin g b rie fin g fro m a n a p p ro v e d c re d it c o u n s e lin g
 h ttp : //w w w .u s c o u rts .g o v /b k f o rm s /b a n k ru p tc y _f o rm                                        a g e n c y . 1 1 U . S . C . § 1 0 9 (h ). If y o u a re filin g a jo in t
 s .h tm l# p ro c e d u re .                                                                                          c a s e , b o th s p o u s e s m u s t re c e iv e th e b rie fin g . W ith
                                                                                                                       lim ite d e x c e p tio n s , y o u m u s t re c e iv e it w ith in th e 1 8 0
                                                                                                                       da ys              y o u file y o u r b a n k ru p tc y p e titio n . T h is
 Bankruptcy crimes have serious consequences                                                                                    before
                                                                                                                       b rie fin g is u s u a lly c o n d u c te d b y te le p h o n e o r o n th e
                                                                                                                       In te rn e t.
               If y o u k n o w in g ly a n d fra u d u le n tly c o n c e a l a s s e ts
               o r m a k e a fa ls e o a th o r s ta te m e n t u n d e r p e n a lty
                                                                                                                       In a d d itio n , a fte r filin g a b a n k ru p tc y c a s e , y o u g e n e ra lly
               o f p e rju ry — e ith e r o ra lly o r in w ritin g — in
                                                                                                                       m u s t c o m p le te a fin a n c ia l m a n a g e m e n t in s tru c tio n a l
               c o n n e c tio n w ith a b a n k ru p tc y c a s e , y o u m a y b e
                                                                                                                       c o u rs e b e fo re y o u c a n re c e iv e a d is c h a rg e . If y o u a re
               fin e d , im p ris o n e d , o r b o th .
                                                                                                                       filin g a jo in t c a s e , b o th s p o u s e s m u s t c o m p le te th e
                                                                                                                       c o u rs e .
               A ll in fo rm a tio n y o u s u p p ly in c o n n e c tio n w ith a
               b a n k ru p tc y c a s e is s u b je c t to e x a m in a tio n b y th e
                                                                                                                       Y o u c a n o b ta in th e lis t o f a g e n c ie s a p p ro v e d to p ro v id e
               A tto rn e y G e n e ra l a c tin g th ro u g h th e O ffic e o f th e
                                                                                                                       b o th th e b rie fin g a n d th e in s tru c tio n a l c o u rs e fro m :
               U . S . T ru s te e , th e O ffic e o f th e U . S . A tto rn e y , a n d
               o th e r o ffic e s a n d e m p lo y e e s o f th e U . S .                                             h ttp : //j u s tic e .g o v /u s t/e o /h a p c p a /c c d e /c c _a p p ro v e d .h tm l .
               D e p a rtm e n t o f J u s tic e .
                                                                                                                       In A la b a m a a n d N o rth C a ro lin a , g o to :
                                                                                                                       h ttp : //w w w .u s c o u rts .g o v /F e d e ra lC o u rts /B a n k ru p tc y /
 Make sure the court has your mailing address                                                                          B a n k ru p tc y R e s o u rc e s /A p p ro v e d C re d it
                                                                                                                       A n d D e b tC o u n s e l o rs .a s p x .
 T h e b a n k ru p tc y c o u rt s e n d s n o tic e s to th e m a ilin g
 a d d re s s y o u lis t o n
                               Voluntary Petition for Individuals                                                      If y o u d o n o t h a v e a c c e s s to a c o m p u te r, th e c le rk o f
                                     (O ffic ia l F o rm 1 0 1 ). T o e n s u re
 Filing for Bankruptcy                                                                                                 th e b a n k ru p tc y c o u rt m a y b e a b le to h e lp y o u o b ta in
 th a t y o u re c e iv e in fo rm a tio n a b o u t y o u r c a s e ,                                                 th e lis t.
 B a n k ru p tc y R u le 4 0 0 2 re q u ire s th a t y o u n o tify th e c o u rt
 o f a n y c h a n g e s in y o u r a d d re s s .




Notice Required by 11 U.S.C. § 342(b) for I ndividuals Filing for Bankruptcy (Form 2010)                                                                                                                             page 5

S o f tw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w .b e s tc a s e .c o m                                                                                     B e s t C a s e B a n k ru p tc y
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                                                                                                        United States Bankruptcy Court
                                                                                                               Middle District of Florida
   In re             Cathy Sue Suttles                                                                                                               Case No.
                                                                                                                            Debtor(s)                Chapter    7




                                                                             VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: February 28, 2019                                                                                        /s/ Cathy Sue Suttles
                                                                                                                Cathy Sue Suttles
                                                                                                                Signature of Debtor

 Date: February 28, 2019                                                                                        /s/ Sheryl S Zust
                                                                                                                Signature of Attorney
                                                                                                                Sheryl S Zust 0934259
                                                                                                                Sheryl S Zust PA
                                                                                                                4649 Clyde Morris Blvd.
                                                                                                                Suite 610
                                                                                                                Port Orange, FL 32129
                                                                                                                (386) 258 3900




S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                         B e s t C a s e B a n k ru p tc y
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       }
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       A
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       M
       a
       x




C a th y S u e S u ttle s                           C o m e n ity B a n k /w o m n w t                            In p t C o n s lt O f F l
2 4 2 2 O tis A v e                                 A ttn : B a n k ru p tc y D e p t                             c /o A c c o u n t R e s o lu tio n S e rv ic e s
D e lto n a F L 3 2 7 3 8                           P o Box 182125                                                A ttn : B a n k ru p tc y
                                                    C o lu m b u s O H 4 3 2 1 8                                  P o Box 459079
                                                                                                                  S u n ris e F L 3 3 3 4 5

S h e ry l S Z u s t                                C o m e n ity C a p ita l B a n k /H S N                      J e ffe rs o n C a p ita l
S h e ry l S Z u s t P A                            A ttn : B a n k ru p tc y D e p t                             1 6 M c L e la n d R o a d
4 6 4 9 C ly d e M o rris B lv d .                  P o Box 18215                                                 S a in t C lo u d M N 5 6 3 0 3 - 2 1 9 8
S u ite 6 1 0                                       C o lu m b u s O H 4 3 2 1 8
P o rt O ra n g e , F L 3 2 1 2 9

A s p ire /c b & t                                  C o m e n ity b a n k /fllb e a u ty                          J L R M e d ic a l G ro u p
9 M u te c D r                                      A ttn : B a n k ru p tc y D e p t                             P O Box 948075
C o lu m b u s G A 3 1 9 0 7                        P o Box 182125                                                M a itla n d F L 3 2 7 9 4 - 8 0 7 5
                                                    C o lu m b u s O H 4 3 2 1 8


A t T D ire c tv                                    C o o lin g & W in te r L L C                                 K in g s iz e
c /o E R C /E n h a n c e d R e c o v e ry C o rp   7 9 0 1 S W 6 th C o u rt
A ttn : B a n k ru p tc y                           S u ite 3 1 0
8 0 1 4 B a y b e rry R o a d                       F o rt L a u d e rd a le F L 3 3 3 2 4
J a c k s o n v ille F L 3 2 2 5 6

AT&T                                                C re d it O n e B a n k                                       K o h ls /C a p ita l O n e
P O Box 6000                                        A ttn : B a n k ru p tc y                                     K o h ls C re d it
The La ke s NV 8 9 1 6 3                            P o Box 98873                                                 P o Box 3120
                                                    La s Ve g a s NV 89193                                        M ilw a u k e e W I 5 3 2 0 1


B ry la n e H o m e                                 C re d it O n e B a n k N . A .                               L in c a re
P O Box 659728                                      c /o L V N V F u n d in g /R e s u r g e n t C a p ita l      P O Box 3490
S a n A n to n io T X 7 8 2 6 5                     A ttn : B a n k ru p tc y                                     B ra n d o n F L 3 3 5 0 9
                                                    P o Box 10497
                                                    G re e n v ille S C 2 9 6 0 3

C a p ita l O n e                                   F in g e rh u t                                               R a u s c h S tu rm Is ra e l E n e rs o n & HL L
A ttn : B a n k ru p tc y                           A ttn : B a n k ru p tc y                                     5 8 0 1 U lm e rto n R d
P o Box 30285                                       P o Box 1250                                                  S u ite 2 0 1
S a lt L a k e C ity U T 8 4 1 3 0                  S a in t C lo u d M N 5 6 3 9 5                               C le a rw a te r F L 3 3 7 6 0 - 3 9 5 1


C itib a n k N . A .                                F lo r id a H o s p ita l                                     S to n e b e rry
c /o M id la n d F u n d in g                       P O Box 538800                                                P O Box 2820
2 3 6 5 N o rth s id e D r S te 3 0 0               O rla n d o F L 3 2 8 5 3 - 8 8 0 0                           M o n ro e W I 5 3 5 6 6
S a n D ie g o C A 9 2 1 0 8


C o m e n ity B a n k /k in g s iz e                F re d e ric k J . H a n n a & A s s o c .                    S y n c h ro n y B a n k / J C P e n n e y s
A ttn : B a n k ru p tc y                           7 9 0 1 S W 6 th C o u rt                                     A ttn : B a n k ru p tc y D e p t
P o Box 182125                                      S u ite 3 1 0                                                 P o Box 965060
C o lu m b u s O H 4 3 2 1 8                        F o rt L a u d e rd a le F L 3 3 3 2 4                        O rla n d o F L 3 2 8 9 6
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S y n c h ro n y B a n k /Q V C
A ttn : B a n k ru p tc y D e p t
P o Box 965060
O rla n d o F L 3 2 8 9 6


S y n c h ro n y B a n k /W a lm a rt
A ttn : B a n k ru p tc y D e p t
P o Box 965060
O rla n d o F L 3 2 8 9 6


V o lu s ia C o u n ty - E v a c
c /o U n ite d C o lle c tio n S e rv
A ttn : B a n k ru p tc y D e p a rtm e n t
1 0 6 C o m m e rc e S t. , S u ite 1 0 6
L a k e M a ry F L 3 2 7 4 6

W e bba nk
P 2 1 5 S . S ta te S t
S u ite 1 0 0 0
S a lt L a k e C ity U T 8 4 1 1 1


W o m e n W ith in
P O Box 659728
S a n A n to n io T X 7 8 2 6 5
                                                    Case 6:19-bk-01285-CCJ                                           Doc 1     Filed 02/28/19           Page 63 of 63
B 2 0 3 0 (F o rm 2 0 3 0 ) (1 2 /1 5 )

                                                                                                        United States Bankruptcy Court
                                                                                                               Middle District of Florida
   In re             Cathy Sue Suttles                                                                                                                  Case No.
                                                                                                                          Debtor(s)                     Chapter    7

                                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.          Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
            compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
            be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                      For legal services, I have agreed to accept                                                                                   $                  1,400.00
                      Prior to the filing of this statement I have received                                                                         $                  1,400.00
                      Balance Due                                                                                                                   $                      0.00

2.          The source of the compensation paid to me was:

                              Debtor                                 Other (specify):

3.          The source of compensation to be paid to me is:

                              Debtor                                 Other (specify):

4.                  I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                    I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                    copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.          In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

            a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
            b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
            c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
            d.     [Other provisions as needed]
                        Drafting of Petition and Schedules; exemption planning; preparation and filing of reaffirmation agreements and applications
                        as needed; attendance at meeting of creditors.

6.          By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                    Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions, redemption
                    actions, relief from stay actions, objections to exemptions, or any other adversary proceeding.
                                                                                                                   CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

         February 28, 2019                                                                                                /s/ Sheryl S Zust
         Date                                                                                                             Sheryl S Zust 0934259
                                                                                                                          Signature of Attorney
                                                                                                                          Sheryl S Zust PA
                                                                                                                          4649 Clyde Morris Blvd.
                                                                                                                          Suite 610
                                                                                                                          Port Orange, FL 32129
                                                                                                                          (386) 258 3900
                                                                                                                          Name of law firm




S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                      B e s t C a s e B a n k ru p tc y
